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                  EXHIBIT A
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 I. Detailed Statement for ANDA No. 212408

 A.             Introduction.

 Pursuant to 21 U.S.C. § 355(j)(2)(B)(iv)(II) and 21 C.F.R. § 314.95(c)(6), this document is the
 detailed statement of the factual and legal bases for the paragraph IV certification of Bionpharma
 that, in its opinion and to the best of its knowledge, the claims of U.S. Patent Nos. 9,669,008
 (“’008 patent”); 10,039,745 (“’745 patent”); and 9,808,442 (“’442 patent”) are invalid,
 unenforceable and/or will not be infringed by the commercial manufacture, use or sale of the
 drug product described in Bionpharma’s ANDA 212408. Bionpharma reserves the right to raise
 additional factual and legal bases concerning non-infringement, invalidity, and/or
 unenforceability in any litigation or other proceeding that may result from receipt of this letter.

 A.1            Bionpharma’s ANDA Product.

 Bionpharma’s ANDA Product is an oral solution containing enalapril maleate as the active
 ingredient. The strength of the proposed ANDA product is 1 mg/mL.

 B.             Legal Standards.

 B.1            Claim Construction.

 It is a “bedrock principle” of patent law that “the claims of a patent define the invention to which
 the patentee is entitled the right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed.
 Cir. 2005). The first step, claim construction, “is simply a way of elaborating the normally terse
 claim language in order to understand and explain, but not to change, the scope of the claims.”
 DeMarini Sports, Inc. v. Worth, Inc., 239 F.3d 1314, 1322 (Fed. Cir. 2001) (citation omitted);
 see also, Dynacore Holdings Corp. v. U.S. Philips Corp., 363 F.3d 1263, 1273 (Fed. Cir. 2004).

 The words of a claim “are generally given their ordinary and customary meaning,” i.e., the
 meaning that the term would have to a person of ordinary skill in the art in question as of the
 effective filing date of the patent application. Phillips, 415 F.3d at 1312-13 (citations omitted);
 see also, Gillette Co. v. Energizer Holdings, Inc., 405 F.3d 1367, 1370 (Fed. Cir. 2005).
 Because the meaning of a claim term as understood by persons of skill in the art is often not
 immediately apparent, and because patentees frequently use terms idiosyncratically, courts look
 to “those sources available to the public that show what a person of skill in the art would have
 understood disputed claim language to mean,” which include “the words of the claims
 themselves, the remainder of the specification, the prosecution history, and extrinsic evidence
 concerning relevant scientific principles, the meaning of technical terms, and the state of the art.”
 Phillips, 415 F.3d at 1314 (citations omitted).

 When construing a patent claim, a court first analyzes the intrinsic evidence of record—the
 claims, the specification, and the prosecution history, as such evidence is the most significant
 source of the legally operative meaning of a claim. See Phillips, 415 F.3d at 1314-17; Markman
 v. Westview Instruments Inc., 52 F.3d 967, 980 (Fed. Cir. 1995) (en banc), aff’d 517 U.S. 370
 (1996). While “words in a claim are generally given their ordinary and customary meaning, a
 patentee may choose to be his own lexicographer and use terms in a manner other than their
 ordinary meaning, as long as the special definition of the term is clearly stated in the patent


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 specification or file history.” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed.
 Cir. 1996); see Phillips, 415 F.3d at 1316; see also, Anderson Corp. v. Fiber Composites, LLC,
 474 F.3d 1361, 1370 (Fed. Cir. 2007); 3M Innovative Props. Co. v. Avery Dennison Corp., 350
 F. 3d 12365, 1374 (Fed. Cir. 2003); AIA Eng’g, Ltd. V. Magotteaux Inter., S/A, 657 F. 3d 1264,
 1276 (Fed. Cir. 2011).

 The Federal Circuit has recognized that a court construing a patent claim may also utilize
 extrinsic evidence, such as expert testimony and technical dictionaries. Phillips, 415 F.3d at
 1317. While extrinsic evidence on the issue of claim construction may be referenced, the
 Federal Circuit has held that it is “less significant than the intrinsic record in determining ‘the
 legally operative meaning of claim language.’” Id. On several occasions, the Federal Circuit has
 admonished courts construing patent claims for relying on extrinsic evidence because it “poses
 the risk that [the extrinsic evidence] will be used to change the meaning of claims in derogation
 of the ‘indisputable public records consisting of the claims, the specification and the prosecution
 history,’ thereby undermining the public notice function of patents.” Id. at 1319 (citation
 omitted). Likewise, extrinsic evidence may not correct errors, erase limitations, or otherwise
 diverge from the description of the invention as contained in the patent documents. Aqua-
 Aerobic Sys., Inc. v. Aerators, Inc., 211 F.3d 1241, 1245 (Fed. Cir. 2000).

 A patentee cannot recapture in litigation claim scope surrendered, either by amendment or
 argument, during the prosecution of the patent. See Pharmacia & Upjohn Co. v. Mylan Pharm.,
 Inc., 170 F.3d 1373, 1376-77 (Fed. Cir. 1999). Because “[c]laims may not be construed one way
 in order to obtain their allowance and in a different way against accused infringers,” Southwall
 Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570, 1576 (Fed. Cir. 1995), cert denied, 516 U.S. 987
 (1995), if a claim must be construed in a particular way to make the claimed subject matter
 patentable, it cannot be construed differently to cover an accused device if that construction
 would simultaneously include the prior art. This principle prevents a patentee from claiming that
 its patent claims cover subject matter for which the PTO was unwilling to issue a patent. It also
 gives courts guidance as to what claims or claim elements warrant a narrow scope. When a
 patentee urges a court to broadly construe or effectively “read out” claim limitations which, if so
 broadly construed or eliminated, would fail to differentiate a claim from the prior art, courts have
 a basis for rejecting such claim constructions. See id. at 1580-82; see DeMarini, 239 F.3d at
 1332.

 The Supreme Court set aside the Federal Circuit’s de novo review of every aspect of a lower
 court’s claim construction decision, rejecting that form of review where the district court has
 resolved factual disputes and made factual findings about the extrinsic evidence. Teva Pharm.
 USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015). The Supreme Court held that the “clear
 error” standard of review applies in those circumstances. Id. However, it also confirmed that the
 “ultimate” construction of the claim, even where underlying factual disputes have been resolved,
 remains a legal conclusion that the Federal Circuit can review de novo. Id at 834. The Court
 also confirmed that de novo review is appropriate in cases where the district court reviews only
 evidence intrinsic to the patent. Id.

 B.2.           Infringement Analysis.




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 The first step to determining whether infringement exists is to construe the patent claim
 language. Second, the properly construed claims are compared to the accused product or process
 to determine whether it falls within the scope of the claims. Markman, 52 F.3d at 976;
 Dynacore, 363 F.3d at 1273.

 Literal infringement of a patent claim requires that the accused product contain each limitation of
 the claim; if one or more limitations or their equivalent cannot be found in the accused product
 or process, the claim is not infringed (e.g. “all elements rule”). London v. Carson Pirie Scott &
 Co., 946 F.2d 1534, 1538-39 (Fed. Cir. 1991); Cross Med. Prods. v. Medtronic Sofamor Danek,
 424 F.3d 1293, 1309-11 (Fed. Cir. 2005). If the accused product lacks even a single claim
 element, there is no literal infringement. V-Formation, Inc. v. Benetton Grp. SpA, 401 F.3d
 1307, 1312 (Fed. Cir. 2005).

 Infringement under the doctrine of equivalents requires the accused product to contain elements
 identical or equivalent to each claim limitation recited in a claim of a patent. See Warner-
 Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 29 (1997). Two primary approaches
 have been used for determining equivalents: (1) the “triple identity” approach; and (2) the
 “insubstantial differences” approach. The triple identity approach focuses on whether the
 substitute element of the accused product or process performs substantially the same function, in
 substantially the same way, to achieve substantially the same result as the claim limitation for
 which equivalence is at issue (e.g., “Function-Way-Result” test). Id. at 39; Crown Packaging
 Tech., Inc. v. Rexam Beverage Can Co., 559 F.3d 1308, 1312 (Fed. Cir. 2009). The insubstantial
 differences approach focuses on “whether the substitute element plays a role substantially
 different from the claimed element.” Id. at 40. In the chemical arts, the insubstantial differences
 test general is more suitable than the Function-Way-Result test for evaluating infringement under
 the doctrine of equivalents. See Mylan Institutional LLC v. Aurobindo Pharma Ltd., 857 F.3d
 858, 867 (Fed. Cir. 2017).

 Further, “the concept of equivalency cannot embrace a structure that is specifically excluded
 from the scope of the claims.” Dolly, Inc. v. Spalding & Evenflo Cos., Inc., 16 F.3d 394, 400
 (Fed. Cir. 1994). Once a patent issues, all limitations in a claim are material and must be met in
 the accused device or method – either exactly or equivalently. See Becton Dickinson & Co. v.
 C.R. Bard Inc., 922 F.2d 792, 798 (Fed. Cir. 1990). “There can be no infringement as a matter of
 law if a claim limitation is totally missing from the accused device.” London, 946 F.2d at 1539;
 Cross Med., 424 F.3d at 1309-11. “The doctrine of equivalents cannot be used to erase
 meaningful structural and functional limitations of the claim on which the public is entitled to
 rely in avoiding infringement.” Conopco, Inc. v. May Dep’t Stores Co., 46 F.3d 1556, 1562
 (Fed. Cir. 1994), cert. denied, 514 U.S. 1078 (1995). “It is important to insure that the
 application of the doctrine [of equivalents], even as to an individual element, is not allowed such
 broad play as to effectively eliminate that element in its entirety.” Warner-Jenkinson, 520 U.S.
 at 29; see Cooper Cameron Corp. v. Kvaerner Oilfield Prods., Inc., 291 F.3d 1317, 1321-22
 (Fed. Cir. 2002) (There can be no infringement under the doctrine of equivalents when a
 limitation of a claim is missing—the claim required a port to be positioned “between” two plugs
 so there was no infringement by equivalents where the accused positioned the port “above” the
 two plugs). The scope of equivalents also may not encompass the prior art. Wilson Sporting
 Goods Co. v. David Geoffrey & Assocs., 904 F.2d 677, 684 (Fed. Cir. 1990), disapproved of on
 other grounds by Cardinal Chem. Co. v. Morton Int’l, Inc., 508 U.S. 83 (1993) (“[S]ince prior art


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 always limits what an inventor could have claimed, it limits the range of permissible equivalents
 of a claim.”).

 The patentee, as the author of the claim language, may be expected to draft claims encompassing
 readily known equivalents. Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S.
 722, 740 (2002). A patentee who narrows a claim by amendment during prosecution to satisfy a
 requirement of the Patent Act is presumed to have surrendered any equivalents in the territory
 between the original claim and the amended claim. Id.; see Deering Precision Instruments,
 L.L.C. v. Vector Distribution Sys., Inc., 347 F.3d 1314, 1325 (Fed. Cir. 2003); Ranbaxy Pharm.
 Inc. v. Apotex, Inc., 350 F.3d 1235, 1241 (Fed. Cir. 2003). The presumption can be overcome if
 the equivalent was unforeseeable at the time of the application, the rationale underlying the
 amendment bears no more than a tangential relationship to the equivalent in question, or there
 was some other reason suggesting that the patentee could not reasonably be expected to have
 described the insubstantial substitute in question. Ranbaxy Pharm., 350 F.3d at 1241 (citing and
 quoting in part, Festo Corp., 535 U.S. at 740-41). The question of whether the presumption has
 been rebutted is a question of law for a court.

 Prosecution history estoppel is premised upon the notion that “a patentee should not be able to
 obtain, through litigation, coverage of subject matter relinquished during prosecution.” Zenith
 Labs., Inc. v. Bristol-Myers Squibb Co., 19 F.3d 1418, 1424 (Fed. Cir. 1994). A patentee is
 estopped from recapturing coverage relinquished by argument or amendment during prosecution
 by application of the doctrine of equivalents. See Hormone Research Found., Inc. v. Genentech,
 Inc., 904 F.2d 1558, 1564 (Fed. Cir. 1990), cert. dismissed, 499 U.S. 955 (1991); Southwall
 Techs., 54 F.3d at 1582-84; Canton Bio-Medical, Inc. v. Integrated Liner Techs., Inc., 216 F.3d
 1367, 1371 (Fed. Cir. 2000) (patentee was barred from asserting that a single prior art component
 was an equivalent where the patentee had argued that its invention was a “particular primer
 solution” distinguished by its use of three specific components from the prior art); PODS, Inc. v.
 Porta Stor, Inc., 484 F.3d 1359, 1368 (Fed. Cir. 2007), cert denied, 522 U.S. 1022 (2007)
 (arguments made to distinguish prior art as lacking a rectangular-shaped frame created a clear
 and unmistakable surrender of coverage for frames that were not rectangular or four-sided); see
 also, Digital-Vending Servs. Int’l, LLC v. Univ. of Phoenix, Inc., 672 F.3d 1270, 1277 (Fed. Cir.
 2012); Typhoon Touch Techs., Inc. v. Dell, Inc., 659 F.3d 1376 (Fed. Cir. 2011).

 “To invoke argument-based estoppel … the prosecution history must evince a clear and
 unmistakable surrender of subject matter.” PODS, 484 F.3d at 1367. Clear assertions made in
 support of patentability may create an estoppel, regardless of whether or not they were actually
 required for allowance of a claim. Id. at 1368. The relevant inquiry is “whether a competitor
 would reasonably believe that the applicant had surrendered the relevant subject matter.” Id.
 Once an argument-based estoppel is created with regard to a claim term, the estoppel applies to
 that term in other claims. Id.

 C.             The Orange Book Patent with a Paragraph IV Certification.

 C.1.           U.S. Patent No. 9,669,008.

 The ’008 patent, entitled “ENALAPRIL FORMULATIONS,” is directed to enalapril oral liquid
 formulations. (’008 patent at Abstract). The ’008 patent issued on June 6, 2017 from U.S.


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 Patent Application Serial No. 15/081,603 (“’603 application”), filed on March 25, 2016, which
 claims priority to Provisional Application No. 62/310,198, filed on March 18, 2016. According
 to the FDA’s Electronic Orange Book, the ’008 patent expires on March 25, 2036. According to
 the USPTO electronic assignment database, the ’008 patent is assigned to Silvergate
 Pharmaceuticals, Inc.

 The ’008 patent lists Gerold L. Mosher and David W. Miles as inventors.

 The ’008 patent discloses and claims stable enalapril oral liquid formulation.

 C.1.1.         The Claims of the ’008 Patent.

 The ’008 patent issued with 20 claims set forth below:

                       1. A stable oral liquid formulation, comprising:

                       (i) about 1 mg/ml enalapril maleate;

                       (ii) a buffer comprising about 1.82 mg/ml citric acid and
                       about 0.15 mg/mL sodium citrate dihydrate;

                       (iii) about 1 mg/ml of a preservative that is sodium
                       benzoate; and

                       (iv) water;

                       wherein the pH of the formulation is less than about 3.5;
                       and

                       wherein the formulation is stable at about 5±3° C. for at
                       least 12 months;

                       wherein the stable oral liquid formulation has about 95% or
                       greater of the initial enalapril amount and about 5% w/w or
                       less total impurities or related substances at the end of the
                       given storage period.

                       2. The formulation of claim 1, further comprising a
                       flavoring agent.

                       3. The formulation of claim 1, wherein the pH is between
                       about 3 and about 3.5.

                       4. The formulation of claim 3, wherein the pH is about 3.3.

                       5. The formulation of claim 1, wherein the citrate
                       concentration in the buffer is about 5 mM to about 20 mM.




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                   6. The formulation of claim 5, wherein the citrate
                   concentration in the buffer is about 10 mM.

                   7. The formulation of claim 1, wherein the formulation is
                   stable at about 5±3° C. for at least 18 months.

                   8. The formulation of claim 1, wherein the formulation is
                   stable at about 5±3° C. for at least 24 months.

                   9. The formulation of claim 1, wherein the formulation
                   does not contain mannitol.

                   10. The formulation of claim 1, wherein the formulation
                   does not contain silicon dioxide.

                   11. A stable oral liquid formulation, comprising:

                   (i) about 19.3% (w/w of solids) enalapril maleate;

                   (ii) a buffer comprising about 35.2% (w/w of solids) citric
                   acid and about 2.9% (w/w of solids) sodium citrate
                   dihydrate;

                   (iii) about 19.3% (w/w of solids) of a preservative that is
                   sodium benzoate; and

                   (iv) water;

                   wherein the pH of the formulation is less than about 3.5;
                   and

                   wherein the formulation is stable at about 5±3° C. for at
                   least 12 months;

                   wherein the stable oral liquid formulation has about 95% or
                   greater of the initial enalapril amount and about 5% w/w or
                   less total impurities or related substances at the end of the
                   given storage period.

                   12. The formulation of claim 11, further comprising a
                   flavoring agent.

                   13. The formulation of claim 11, wherein the pH is between
                   about 3 and about 3.5.

                   14. The formulation of claim 13, wherein the pH is about
                   3.3.




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                   15. The formulation of claim 11, wherein the citrate
                   concentration in the buffer is about 5 mM to about 20 mM.

                   16. The formulation of claim 15, wherein the citrate
                   concentration in the buffer is about 10 mM.

                   17. The formulation of claim 11, wherein the formulation is
                   stable at about 5±3° C. for at least 24 months.

                   18. A stable oral liquid formulation, consisting essentially
                   of:

                   (i) about 1 mg/ml enalapril maleate;

                   (ii) about 0.70 mg/ml of a sweetener that is sucralose;

                   (iii) a buffer comprising about 1.82 mg/ml citric acid and
                   about 0.15 mg/ml sodium citrate dihydrate;

                   (iv) about 1 mg/ml of a preservative that is sodium
                   benzoate;

                   (v) a flavoring agent; and

                   (vi) water;

                   wherein the pH of the formulation is less than about 3.5
                   adjusted by sodium hydroxide or hydrochloric acid if
                   needed; and

                   wherein the formulation is stable at about 5±3° C. for at
                   least 12 months;

                   wherein the stable oral liquid formulation has about 95% or
                   greater of the initial enalapril amount and about 5% w/w or
                   less total impurities or related substances at the end of the
                   given storage period.

                   19. The stable oral liquid formulation of claim 1, further
                   comprising about 0.70 mg/ml of a sweetener that is
                   sucralose.

                   20. The stable oral liquid formulation of claim 11, further
                   comprising about 13.5% (w/w of solids) of a sweetener that
                   is sucralose.

  C.1.2.     There is No Infringement of Any Claims by the Bionpharma ANDA Product.




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  The commercial manufacture, use, sale, and/or offer for sale of the Bionpharma ANDA Product
  will not infringe any valid claim of the ’008 patent either literally or under the doctrine of
  equivalents.

  C.1.2.1.      Claim 1 is Not Infringed by the Bionpharma ANDA Product.

  Claim 1 requires:

                        1. A stable oral liquid formulation, comprising:

                        (i) about 1 mg/ml enalapril maleate;

                        (ii) a buffer comprising about 1.82 mg/ml citric acid and
                        about 0.15 mg/mL sodium citrate dihydrate;

                        (iii) about 1 mg/ml of a preservative that is sodium
                        benzoate; and

                        (iv) water;

                        wherein the pH of the formulation is less than about 3.5;
                        and

                        wherein the formulation is stable at about 5±3° C. for at
                        least 12 months;

                        wherein the stable oral liquid formulation has about 95% or
                        greater of the initial enalapril amount and about 5% w/w or
                        less total impurities or related substances at the end of the
                        given storage period.

  C.1.2.1.1.   The Bionpharma ANDA Product Does Not Contain “a buffer comprising
  about 1.82 mg/ml citric acid and about 0.15 mg/mL sodium citrate dihydrate.”

  The Bionpharma ANDA Product does not contain “a buffer comprising about 1.82 mg/ml citric
  acid and about 0.15 mg/mL sodium citrate dihydrate” as required by claim 1 of the ’008 patent.
  Literal infringement requires a patentee to prove that every limitation of the asserted claim is
  literally met by the accused product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d
  at 1562 (literal infringement occurs “when the properly construed claim reads on the accused
  device exactly”). The failure to meet even a single element within a claim mandates a finding
  that the accused product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

  C.1.2.1.2.    The Bionpharma ANDA Product Does Not Contain “about 1 mg/ml of a
  preservative that is sodium benzoate.”

  The Bionpharma ANDA Product does not contain “about 1 mg/ml of a preservative that is
  sodium benzoate” as required by claim 1 of the ’008 patent. Literal infringement requires a
  patentee to prove that every limitation of the asserted claim is literally met by the accused


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  product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d at 1562 (literal
  infringement occurs “when the properly construed claim reads on the accused device exactly”).
  The failure to meet even a single element within a claim mandates a finding that the accused
  product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

                                     *           *              *

  The Bionpharma ANDA Product does not contain two separate required elements of claim 1 of
  the ’008 patent and, thus, cannot infringe claim 1 of the ’008 patent.

  C.1.2.2.      Claims 2-10 and 19 are Not Infringed by the Bionpharma ANDA Product.

  Claims 2-10 and 19 of the ’008 patent depend, directly or indirectly, from independent claim 1.
  A dependent claim incorporates all of the elements and limitations of the independent claim on
  which it depends. 35 U.S.C. § 112(d). Thus, a dependent claim cannot be infringed unless each
  and every element of the underlying independent claim is also infringed. Forest Labs, 239 F.3d
  at 1310-11 & n.3. As discussed above, independent claim 1 of the ’008 patent will not be
  infringed by the Bionpharma ANDA Product. Therefore, dependent claims 2-10 and 19 of the
  ’008 patent will not be infringed by the Bionpharma ANDA Product.

  C.1.2.3.      Claim 11 is Not Infringed by the Bionpharma ANDA Product.

  Claim 11 requires:

                       1. A stable oral liquid formulation, comprising:

                       (i) about 19.3% (w/w of solids) enalapril maleate;

                       (ii) a buffer comprising about 35.2% (w/w of solids) citric
                       acid and about 2.9% (w/w of solids) sodium citrate
                       dihydrate;

                       (iii) about 19.3% (w/w of solids) of a preservative that is
                       sodium benzoate; and

                       (iv) water;

                       wherein the pH of the formulation is less than about 3.5;
                       and

                       wherein the formulation is stable at about 5±3° C. for at
                       least 12 months;

                       wherein the stable oral liquid formulation has about 95% or
                       greater of the initial enalapril amount and about 5% w/w or
                       less total impurities or related substances at the end of the
                       given storage period.



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  C.1.2.3.1.    The Bionpharma ANDA Product Does Not Contain “about 19.3% (w/w of
  solids) enalapril maleate.”

  The Bionpharma ANDA Product does not contain “about 19.3% (w/w of solids) enalapril
  maleate” as required by claim 11 of the ’008 patent. Literal infringement requires a patentee to
  prove that every limitation of the asserted claim is literally met by the accused product. Enercon,
  151 F.3d at 1384; see also Amhil Enters., 81 F.3d at 1562 (literal infringement occurs “when the
  properly construed claim reads on the accused device exactly”). The failure to meet even a
  single element within a claim mandates a finding that the accused product does not literally
  infringe the patent. Laitram Corp., 939 F.2d at 1535.

  C.1.2.3.2.  The Bionpharma ANDA Product Does Not Contain “a buffer comprising
  about 35.2% (w/w of solids) citric acid and about 2.9% (w/w of solids) sodium citrate
  dihydrate.”

  The Bionpharma ANDA Product does not contain “a buffer comprising about 35.2% (w/w of
  solids) citric acid and about 2.9% (w/w of solids) sodium citrate dihydrate” as required by claim
  11 of the ’008 patent. Literal infringement requires a patentee to prove that every limitation of
  the asserted claim is literally met by the accused product. Enercon, 151 F.3d at 1384; see also
  Amhil Enters., 81 F.3d at 1562 (literal infringement occurs “when the properly construed claim
  reads on the accused device exactly”). The failure to meet even a single element within a claim
  mandates a finding that the accused product does not literally infringe the patent. Laitram Corp.,
  939 F.2d at 1535.

  C.1.2.3.3.     The Bionpharma ANDA Product Does Not Contain “about 19.3% (w/w of
  solids) of a preservative that is sodium benzoate.”

  The Bionpharma ANDA Product does not contain “about 19.3% (w/w of solids) of a
  preservative that is sodium benzoate” as required by claim 11 of the ’008 patent. Literal
  infringement requires a patentee to prove that every limitation of the asserted claim is literally
  met by the accused product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d at 1562
  (literal infringement occurs “when the properly construed claim reads on the accused device
  exactly”). The failure to meet even a single element within a claim mandates a finding that the
  accused product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

                                   *              *               *

  The Bionpharma ANDA Product does not contain three separate required elements of claim 11
  of the ’008 patent, and thus, cannot infringe claim 11 of the ’008 patent.

  C.1.2.4.       Claims 12-17 and 20 are Not Infringed by the Bionpharma ANDA Product.

  Claims 12-17 and 20 of the ’008 patent depend, directly or indirectly, from independent claim
  11. A dependent claim incorporates all of the elements and limitations of the independent claim
  on which it depends. 35 U.S.C. § 112(d). Thus, a dependent claim cannot be infringed unless
  each and every element of the underlying independent claim is also infringed. Forest Labs, 239
  F.3d at 1310-11 & n.3. As discussed above, independent claim 11 of the ’008 patent will be



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  infringed by the Bionpharma ANDA Product. Therefore, dependent claims 12-17 and 20 of the
  ’008 patent will not be infringed by the Bionpharma ANDA Product.

  C.1.2.5.       Claim 18 is Not Infringed by the Bionpharma ANDA Product.

  Claim 18 requires:

                        1. A stable oral liquid formulation, consisting essentially
                        of:

                        (i) about 1 mg/ml enalapril maleate;

                        (ii) about 0.70 mg/ml of a sweetener that is sucralose;

                        (iii) a buffer comprising about 1.82 mg/ml citric acid and
                        about 0.15 mg/ml sodium citrate dihydrate;

                        (iv) about 1 mg/ml of a preservative that is sodium
                        benzoate;

                        (v) a flavoring agent; and

                        (vi) water;

                        wherein the pH of the formulation is less than about 3.5
                        adjusted by sodium hydroxide or hydrochloric acid if
                        needed; and

                        wherein the formulation is stable at about 5±3° C. for at
                        least 12 months;

                        wherein the stable oral liquid formulation has about 95% or
                        greater of the initial enalapril amount and about 5% w/w or
                        less total impurities or related substances at the end of the
                        given storage period.

  C.1.2.5.1.   The Bionpharma ANDA Product Does Not Contain “about 0.70 mg/ml of a
  sweetener that is sucralose.”

  The Bionpharma ANDA Product does not contain “about 0.70 mg/ml of a sweetener that is
  sucralose” as required by claim 18 of the ’008 patent. Literal infringement requires a patentee to
  prove that every limitation of the asserted claim is literally met by the accused product. Enercon,
  151 F.3d at 1384; see also Amhil Enters., 81 F.3d at 1562 (literal infringement occurs “when the
  properly construed claim reads on the accused device exactly”). The failure to meet even a
  single element within a claim mandates a finding that the accused product does not literally
  infringe the patent. Laitram Corp., 939 F.2d at 1535.




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  C.1.2.5.2.   The Bionpharma ANDA Product Does Not Contain “a buffer comprising
  about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium citrate dihydrate.”

  The Bionpharma ANDA Product does not contain “a buffer comprising about 1.82 mg/ml citric
  acid and about 0.15 mg/ml sodium citrate dihydrate” as required by claim 18 of the ’008 patent.
  Literal infringement requires a patentee to prove that every limitation of the asserted claim is
  literally met by the accused product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d
  at 1562 (literal infringement occurs “when the properly construed claim reads on the accused
  device exactly”). The failure to meet even a single element within a claim mandates a finding
  that the accused product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

  C.1.2.5.3.    The Bionpharma ANDA Product Does Not Contain “about 1 mg/ml of a
  preservative that is sodium benzoate.”

  The Bionpharma ANDA Product does not contain “about 1 mg/ml of a preservative that is
  sodium benzoate” as required by claim 18 of the ’008 patent. Literal infringement requires a
  patentee to prove that every limitation of the asserted claim is literally met by the accused
  product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d at 1562 (literal
  infringement occurs “when the properly construed claim reads on the accused device exactly”).
  The failure to meet even a single element within a claim mandates a finding that the accused
  product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

                                  *              *              *

  The Bionpharma ANDA Product independently fails to contain three separate required elements
  of claim 18 of the ’008 patent, and thus, cannot infringe claim 18 of the ’008 patent.

  C.1.2.6.     Claims 1-10 and 19 are Not Infringed by the Bionpharma ANDA Product
  under the Doctrine of Equivalents.

  Infringement under the doctrine of equivalents requires the accused product to contain elements
  identical or equivalent to each claim limitation recited in a claim of a patent. See Warner-
  Jenkinson, 520 U.S. at 29.

  Claims 1-10 and 19 of the ’008 patent all require at least (a) a buffer comprising about 1.82
  mg/ml citric acid and about 0.15 mg/mL sodium citrate dihydrate; and (b) about 1 mg/ml of a
  preservative that is sodium benzoate. As discussed above, the Bionpharma ANDA Product does
  not contain any of (a) a buffer comprising about 1.82 mg/ml citric acid and about 0.15 mg/mL
  sodium citrate dihydrate; and (b) about 1 mg/ml of a preservative that is sodium benzoate. Nor
  does the Bionpharma ANDA Product contain an equivalent of any of (a) a buffer comprising
  about 1.82 mg/ml citric acid and about 0.15 mg/mL sodium citrate dihydrate; and (b) about 1
  mg/ml of a preservative that is sodium benzoate.

  Thus, the Bionpharma ANDA Product cannot infringe any of claims 1-10 and 19 of the ’008
  patent under the doctrine of equivalents.

  C.1.2.6.1.   Application of the Doctrine of Equivalents is Precluded by Amendment
  Based Prosecution History Estoppel.


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  The originally filed claims of the ’603 application were directed to an oral liquid formulation
  comprising (i) about 1 mg/ml enalapril maleate; (ii) about 0.70 mg/ml of a sweetener that is
  sucralose; (iii) a buffer comprising about 1.82 mg/ml citric acid; (iv) about 1 mg/ml of a
  preservative that is sodium benzoate; and (v) water; wherein the pH of the formulation is less
  than about 3.5 and wherein the formulation is stable at about 5±3 °C for at least 12 months.
  (’008 Patent PH, Application at claims). In response to obviousness rejections by the PTO based
  on the prior art, Silvergate amended the claims to modify the claim from “(iii) a buffer
  comprising about 1.82 mg/ml citric acid” to “(iii) a buffer comprising about 1.82 mg/ml citric
  acid and about 0.15 mg/mL sodium citrate dihydrate.” (Id. at Feb. 3, 2017 Amendment at 2-3).
  This amendment served to narrow the claims such that any subject matter lacking sodium citrate
  dihydrate, in the recited amount of 0.15 mg/mL, has been surrendered. Silvergate is estopped
  from recapturing any of the surrendered scope and asserting infringement against any
  pharmaceutical liquid lacking 0.15 mg/mL sodium citrate dihydrate.

  C.1.2.6.2.   Application of the Doctrine of Equivalents is Precluded by Argument Based
  Prosecution History Estoppel.”

  Silvergate is further estopped from asserting infringement under the doctrine of equivalents
  because of argument-based estoppel. Explicit disavowal can occur “when the patentee asserted
  the singularity or uniqueness of the claimed invention in arguing for its patentability.”
  Astrazeneca UK Ltd. v. Dr. Reddy's Labs., Ltd., No. 08-CV-3237 (MLC), 2010 WL 4721384, at
  *8 (D.N.J. Nov. 15, 2010). The Federal Circuit has held that argument-based estoppel applied in
  a case in which “the patentee had argued that ‘only’ the listed compound had the ‘particular and
  novel’ property that enabled the invention claimed.” Id. (quoting Forest Labs., Inc. v. Abbott
  Labs., 239 F.3d 1305, 1313-14 (Fed. Cir. 2001)).

  During prosecution of the ’008 patent, Silvergate repeatedly argued that the exact formulation
  with all ingredients in very specific recited amounts were the unique aspect of its invention, and
  further disparaged and disclaimed other ingredients in other amounts. (See, e.g., ’008 Patent PH,
  2/3/2017 Amendment/Req. Reconsideration at 7 (“Moreover, the cited references have not
  provided any reason to single out the specific components at the requisite concentrations for a
  pharmaceutical liquid recited in the instant claims.”) (emphasis added); id. at 12 (“The Citied
  References Also Do Not Teach the Claimed Combination of Components in the Present
  Enalapril Formulations”) (emphasis added); id. (“While these claimed ingredients and
  excipients may individually be disclosed in the ’747 patent, Nahata, Bicitra, Ora-sweet, and
  Rippley, none of these references teach or suggest the claimed combination of only enalapril,
  citric acid, sodium citrate, sodium benzoate, sucralose and water at the recited concentrations
  and pH as stated in claim 20”) (emphasis added); id. at 14 (“nothing in Nahata provides any
  reason or rationale of how one of ordinary skill in the art would use these teachings to arrive at
  the claimed stable enalapril oral liquid formulations, let alone pharmaceutical enalapril oral
  liquid formulations with enalapril, citric acid, sodium citrate, sodium benzoate, sucralose and
  water at the recited concentrations and at a pH of less than about 3.5”) (emphasis added); id. at
  16 (“While elements of the instant claims can be found scattered throughout these different
  references, there is no context or disclosure which brings forth these elements to the forefront
  and allows one to combine them successfully. Instead, each references discloses many other
  excipients that could potentially be used in equal measure.”); id. at 16-17 (table comparing the
  excipients found in prior art to those of the claimed invention) (emphasis added); id. at 17 (“In


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  contrast, the formulation of the present claims has only four ingredients along with enalapril
  and water.”); id. at 18 (“As such, the prior art does not provide any expectation that any
  particular combination would be successful for stable enalapril oral liquid formulations
  compositions, much less any expectation that the combination of with enalapril, citric acid,
  sodium citrate, sodium benzoate, sucralose, and water at the recited concentrations and at a pH
  of less than about 3.5 would be successful in forming a stable enalapril liquid formulation. One
  would need to consider all of these excipients and, through trial-and-error, determine whether
  each and every one of these components was necessary for stability or if they could be varied or
  eliminated. Simply put to arrive at the combination of these specific components using the ’747
  patent, Nahata, Bicitra, Ora-sweet, and Rippley, one skilled in the art must ‘vary all parameters
  or try each of the numerous possible choices’ of the references without ‘direction as to which of
  the many choices is likely to be successful’”) (emphasis added); id. at 19 (“Applicant … submits
  that the subject matter in the claims have unexpected results with respect to stability of present
  enalapril liquid formulations.”); id. (“the claimed stable enalapril liquid formulations are
  dramatically much more stable than the extemporaneous enalapril preparations of Nahata and the
  reconstituted enalapril formulations of the ’747 patent”); id. at 22 (“Nowhere does the prior art
  teach or suggest that a combination of enalapril, citric acid, sodium citrate, sodium benzoate,
  sucralose and water at the recited concentrations and at a pH of less than about 3.5 at the
  claimed concentrations would have resulted in such a dramatic stabilization of enalapril”)
  (emphasis added); ’008 Patent PH, 2/3//2017 Declaration of Gerold Mosher Under 37 C.F.R. §
  1.132 at ¶ 9 (“The present oral liquid formulations contain enalapril, sucralose, a citric acid
  buffer, sodium benzoate and water at a pH of less than 3.5”) (emphasis added); ’008 Patent PH,
  3/22/2017 Amendment/Remarks at 5 (“It is the Applicant’s understanding that the Examiners
  appreciated the superior stability provided by the components and pH as recited in the claims”)
  (emphasis added).

  Silvergate is estopped from asserting infringement of the Bionpharma ANDA Product under the
  doctrine of equivalents because it surrendered during prosecution any subject matter beyond the
  exact qualitative and quantitative composition as claimed in the ’008 patent.

  C.1.2.6.3.    Application of the Doctrine of Equivalents is Precluded by the Doctrine of
  Claim Vitiation.

  Applying the doctrine of equivalents to read on the Bionpharma ANDA Product, which does not
  contain the recited ingredients in the specific recited amounts, would vitiate the “a buffer
  comprising about 1.82 mg/ml citric acid and about 0.15 mg/mL sodium citrate dihydrate” and
  “about 1 mg/ml of a preservative that is sodium benzoate” claim elements. Therefore, any
  assertion of infringement under the doctrine of equivalents is precluded by the doctrine of claim
  vitiation.

  C.1.2.7.     Claims 11-17 and 20 are Not Infringed by the Bionpharma ANDA Product
  under the Doctrine of Equivalents.

  Infringement under the doctrine of equivalents requires the accused product to contain elements
  identical or equivalent to each claim limitation recited in a claim of a patent. See Warner-
  Jenkinson, 520 U.S. at 29.



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  Claims 11-17 and 20 of the ’008 patent all require at least (a) about 19.3% (w/w of solids)
  enalapril maleate; (b) a buffer comprising about 35.2% (w/w of solids) citric acid and about
  2.9% (w/w of solids) sodium citrate dihydrate; and (c) about 19.3% (w/w of solids) of a
  preservative that is sodium benzoate. As discussed above, the Bionpharma ANDA Product does
  not comprise any of (a) about 19.3% (w/w of solids) enalapril maleate; (b) a buffer comprising
  about 35.2% (w/w of solids) citric acid and about 2.9% (w/w of solids) sodium citrate dihydrate;
  and (c) about 19.3% (w/w of solids) of a preservative that is sodium benzoate. Nor does the
  Bionpharma ANDA Product comprise an equivalent of any of (a) about 19.3% (w/w of solids)
  enalapril maleate; (b) a buffer comprising about 35.2% (w/w of solids) citric acid and about
  2.9% (w/w of solids) sodium citrate dihydrate; and (c) about 19.3% (w/w of solids) of a
  preservative that is sodium benzoate.

  Thus, the Bionpharma ANDA Product cannot infringe any of claims 11-17 and 20 of the ’008
  patent under the doctrine of equivalents.

  C.1.2.7.1.   Application of the Doctrine of Equivalents is Precluded by Amendment
  Based Prosecution History Estoppel.

  The originally filed claims of the ’603 application were directed to an oral liquid formulation
  comprising (i) about 1 mg/ml enalapril maleate; (ii) about 0.70 mg/ml of a sweetener that is
  sucralose; (iii) a buffer comprising about 1.82 mg/ml citric acid; (iv) about 1 mg/ml of a
  preservative that is sodium benzoate; and (v) water; wherein the pH of the formulation is less
  than about 3.5 and wherein the formulation is stable at about 5±3 °C for at least 12 months.
  (’008 Patent PH, Application at claims). In response to obviousness rejections by the PTO based
  on the prior art, Silvergate amended the claims to modify the claim from “(iii) a buffer
  comprising about 1.82 mg/ml citric acid” to “(iii) a buffer comprising about 1.82 mg/ml citric
  acid and about 0.15 mg/mL sodium citrate dihydrate.” (Id. at Feb. 3, 2017 Amendment at 2-3).
  This amendment served to narrow the claims such that any subject matter lacking sodium citrate
  dihydrate, in the recited amount of 0.15 mg/mL, has been surrendered. Silvergate is estopped
  from recapturing any of the surrendered scope and asserting infringement against any
  pharmaceutical liquid lacking 0.15 mg/mL sodium citrate dihydrate.

  C.1.2.7.2.   Application of the Doctrine of Equivalents is Precluded by Argument Based
  Prosecution History Estoppel.”

  Silvergate is further estopped from asserting infringement under the doctrine of equivalents
  because of argument-based estoppel. Explicit disavowal can occur “when the patentee asserted
  the singularity or uniqueness of the claimed invention in arguing for its patentability.”
  Astrazeneca UK Ltd. v. Dr. Reddy's Labs., Ltd., No. 08-CV-3237 (MLC), 2010 WL 4721384, at
  *8 (D.N.J. Nov. 15, 2010). The Federal Circuit has held that argument-based estoppel applied in
  a case in which “the patentee had argued that ‘only’ the listed compound had the ‘particular and
  novel’ property that enabled the invention claimed.” Id. (quoting Forest Labs., Inc. v. Abbott
  Labs., 239 F.3d 1305, 1313-14 (Fed. Cir. 2001)).

  During prosecution of the ’008 patent, Silvergate repeatedly argued that the exact formulation
  with all ingredients in very specific recited amounts were the unique aspect of its invention, and
  further disparaged and disclaimed other ingredients in other amounts. (See, e.g., ’008 Patent PH,


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  2/3/2017 Amendment/Req. Reconsideration at 7 (“Moreover, the cited references have not
  provided any reason to single out the specific components at the requisite concentrations for a
  pharmaceutical liquid recited in the instant claims.”) (emphasis added); id. at 12 (“The Citied
  References Also Do Not Teach the Claimed Combination of Components in the Present
  Enalapril Formulations”) (emphasis added); id. (“While these claimed ingredients and
  excipients may individually be disclosed in the ’747 patent, Nahata, Bicitra, Ora-sweet, and
  Rippley, none of these references teach or suggest the claimed combination of only enalapril,
  citric acid, sodium citrate, sodium benzoate, sucralose and water at the recited concentrations
  and pH as stated in claim 20”) (emphasis added); id. at 14 (“nothing in Nahata provides any
  reason or rationale of how one of ordinary skill in the art would use these teachings to arrive at
  the claimed stable enalapril oral liquid formulations, let alone pharmaceutical enalapril oral
  liquid formulations with enalapril, citric acid, sodium citrate, sodium benzoate, sucralose and
  water at the recited concentrations and at a pH of less than about 3.5”) (emphasis added); id. at
  16 (“While elements of the instant claims can be found scattered throughout these different
  references, there is no context or disclosure which brings forth these elements to the forefront
  and allows one to combine them successfully. Instead, each references discloses many other
  excipients that could potentially be used in equal measure.”); id. at 16-17 (table comparing the
  excipients found in prior art to those of the claimed invention) (emphasis added); id. at 17 (“In
  contrast, the formulation of the present claims has only four ingredients along with enalapril
  and water.”); id. at 18 (“As such, the prior art does not provide any expectation that any
  particular combination would be successful for stable enalapril oral liquid formulations
  compositions, much less any expectation that the combination of with enalapril, citric acid,
  sodium citrate, sodium benzoate, sucralose, and water at the recited concentrations and at a pH
  of less than about 3.5 would be successful in forming a stable enalapril liquid formulation. One
  would need to consider all of these excipients and, through trial-and-error, determine whether
  each and every one of these components was necessary for stability or if they could be varied or
  eliminated. Simply put to arrive at the combination of these specific components using the ’747
  patent, Nahata, Bicitra, Ora-sweet, and Rippley, one skilled in the art must ‘vary all parameters
  or try each of the numerous possible choices’ of the references without ‘direction as to which of
  the many choices is likely to be successful’”) (emphasis added); id. at 19 (“Applicant … submits
  that the subject matter in the claims have unexpected results with respect to stability of present
  enalapril liquid formulations.”); id. (“the claimed stable enalapril liquid formulations are
  dramatically much more stable than the extemporaneous enalapril preparations of Nahata and the
  reconstituted enalapril formulations of the ’747 patent”); id. at 22 (“Nowhere does the prior art
  teach or suggest that a combination of enalapril, citric acid, sodium citrate, sodium benzoate,
  sucralose and water at the recited concentrations and at a pH of less than about 3.5 at the
  claimed concentrations would have resulted in such a dramatic stabilization of enalapril”)
  (emphasis added); ’008 Patent PH, 2/3//2017 Declaration of Gerold Mosher Under 37 C.F.R. §
  1.132 at ¶ 9 (“The present oral liquid formulations contain enalapril, sucralose, a citric acid
  buffer, sodium benzoate and water at a pH of less than 3.5”) (emphasis added); ’008 Patent PH,
  3/22/2017 Amendment/Remarks at 5 (“It is the Applicant’s understanding that the Examiners
  appreciated the superior stability provided by the components and pH as recited in the claims”)
  (emphasis added).

  Silvergate is estopped from asserting infringement of the Bionpharma ANDA Product under the
  doctrine of equivalents because it surrendered during prosecution any subject matter beyond the
  exact qualitative and quantitative composition as claimed in the ’008 patent.

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  C.1.2.7.3.    Application of the Doctrine of Equivalents is Precluded by the Doctrine of
  Claim Vitiation.

  Applying the doctrine of equivalents to read on the Bionpharma ANDA Product, which does not
  contain the recited ingredients in the specific recited amounts, would vitiate the “about 19.3%
  (w/w of solids) enalapril maleate,” “a buffer comprising about 35.2% (w/w of solids) citric acid
  and about 2.9% (w/w of solids) sodium citrate dihydrate,” and “about 19.3% (w/w of solids) of a
  preservative that is sodium benzoate” claim elements. Therefore, any assertion of infringement
  under the doctrine of equivalents is precluded by the doctrine of claim vitiation.

  C.1.2.8.      Claim 18 is Not Infringed by the Bionpharma ANDA Product under the
  Doctrine of Equivalents.

  Infringement under the doctrine of equivalents requires the accused product to contain elements
  identical or equivalent to each claim limitation recited in a claim of a patent. See Warner-
  Jenkinson, 520 U.S. at 29.

  Claim 18 of the ’008 patent requires at least (a) about 0.70 mg/ml of a sweetener that is
  sucralose; (b) a buffer comprising about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium
  citrate dihydrate; and (c) about 1 mg/ml of a preservative that is sodium benzoate. As discussed
  above, the Bionpharma ANDA Product does not comprise any of about 1 mg/ml of a
  preservative that is sodium benzoate. Nor does the Bionpharma ANDA Product comprise an
  equivalent of any of about 1 mg/ml of a preservative that is sodium benzoate.

  Thus, the Bionpharma ANDA Product cannot infringe claim 18 of the ’008 patent under the
  doctrine of equivalents.

  C.1.2.8.1.   Application of the Doctrine of Equivalents is Precluded by Amendment
  Based Prosecution History Estoppel.

  The originally filed claims of the ’603 application were directed to an oral liquid formulation
  comprising (i) about 1 mg/ml enalapril maleate; (ii) about 0.70 mg/ml of a sweetener that is
  sucralose; (iii) a buffer comprising about 1.82 mg/ml citric acid; (iv) about 1 mg/ml of a
  preservative that is sodium benzoate; and (v) water; wherein the pH of the formulation is less
  than about 3.5 and wherein the formulation is stable at about 5±3 °C for at least 12 months.
  (’008 Patent PH, Application at claims). In response to obviousness rejections by the PTO based
  on the prior art, Silvergate amended the claims to modify the claim from “(iii) a buffer
  comprising about 1.82 mg/ml citric acid” to “(iii) a buffer comprising about 1.82 mg/ml citric
  acid and about 0.15 mg/mL sodium citrate dihydrate.” (Id. at Feb. 3, 2017 Amendment at 2-3).
  This amendment served to narrow the claims such that any subject matter lacking sodium citrate
  dihydrate, in the recited amount of 0.15 mg/mL, has been surrendered. Silvergate is estopped
  from recapturing any of the surrendered scope and asserting infringement against any
  pharmaceutical liquid lacking 0.15 mg/mL sodium citrate dihydrate.

  C.1.2.8.2.   Application of the Doctrine of Equivalents is Precluded by Argument Based
  Prosecution History Estoppel.”




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  Silvergate is further estopped from asserting infringement under the doctrine of equivalents
  because of argument-based estoppel. Explicit disavowal can occur “when the patentee asserted
  the singularity or uniqueness of the claimed invention in arguing for its patentability.”
  Astrazeneca UK Ltd. v. Dr. Reddy's Labs., Ltd., No. 08-CV-3237 (MLC), 2010 WL 4721384, at
  *8 (D.N.J. Nov. 15, 2010). The Federal Circuit has held that argument-based estoppel applied in
  a case in which “the patentee had argued that ‘only’ the listed compound had the ‘particular and
  novel’ property that enabled the invention claimed.” Id. (quoting Forest Labs., Inc. v. Abbott
  Labs., 239 F.3d 1305, 1313-14 (Fed. Cir. 2001)).

  During prosecution of the ’008 patent, Silvergate repeatedly argued that the exact formulation
  with all ingredients in very specific recited amounts were the unique aspect of its invention, and
  further disparaged and disclaimed other ingredients in other amounts. (See, e.g., ’008 Patent PH,
  2/3/2017 Amendment/Req. Reconsideration at 7 (“Moreover, the cited references have not
  provided any reason to single out the specific components at the requisite concentrations for a
  pharmaceutical liquid recited in the instant claims.”) (emphasis added); id. at 12 (“The Citied
  References Also Do Not Teach the Claimed Combination of Components in the Present
  Enalapril Formulations”) (emphasis added); id. (“While these claimed ingredients and
  excipients may individually be disclosed in the ’747 patent, Nahata, Bicitra, Ora-sweet, and
  Rippley, none of these references teach or suggest the claimed combination of only enalapril,
  citric acid, sodium citrate, sodium benzoate, sucralose and water at the recited concentrations
  and pH as stated in claim 20”) (emphasis added); id. at 14 (“nothing in Nahata provides any
  reason or rationale of how one of ordinary skill in the art would use these teachings to arrive at
  the claimed stable enalapril oral liquid formulations, let alone pharmaceutical enalapril oral
  liquid formulations with enalapril, citric acid, sodium citrate, sodium benzoate, sucralose and
  water at the recited concentrations and at a pH of less than about 3.5”) (emphasis added); id. at
  16 (“While elements of the instant claims can be found scattered throughout these different
  references, there is no context or disclosure which brings forth these elements to the forefront
  and allows one to combine them successfully. Instead, each references discloses many other
  excipients that could potentially be used in equal measure.”); id. at 16-17 (table comparing the
  excipients found in prior art to those of the claimed invention) (emphasis added); id. at 17 (“In
  contrast, the formulation of the present claims has only four ingredients along with enalapril
  and water.”); id. at 18 (“As such, the prior art does not provide any expectation that any
  particular combination would be successful for stable enalapril oral liquid formulations
  compositions, much less any expectation that the combination of with enalapril, citric acid,
  sodium citrate, sodium benzoate, sucralose, and water at the recited concentrations and at a pH
  of less than about 3.5 would be successful in forming a stable enalapril liquid formulation. One
  would need to consider all of these excipients and, through trial-and-error, determine whether
  each and every one of these components was necessary for stability or if they could be varied or
  eliminated. Simply put to arrive at the combination of these specific components using the ’747
  patent, Nahata, Bicitra, Ora-sweet, and Rippley, one skilled in the art must ‘vary all parameters
  or try each of the numerous possible choices’ of the references without ‘direction as to which of
  the many choices is likely to be successful’”) (emphasis added); id. at 19 (“Applicant … submits
  that the subject matter in the claims have unexpected results with respect to stability of present
  enalapril liquid formulations.”); id. (“the claimed stable enalapril liquid formulations are
  dramatically much more stable than the extemporaneous enalapril preparations of Nahata and the
  reconstituted enalapril formulations of the ’747 patent”); id. at 22 (“Nowhere does the prior art
  teach or suggest that a combination of enalapril, citric acid, sodium citrate, sodium benzoate,

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  sucralose and water at the recited concentrations and at a pH of less than about 3.5 at the
  claimed concentrations would have resulted in such a dramatic stabilization of enalapril”)
  (emphasis added); ’008 Patent PH, 2/3//2017 Declaration of Gerold Mosher Under 37 C.F.R. §
  1.132 at ¶ 9 (“The present oral liquid formulations contain enalapril, sucralose, a citric acid
  buffer, sodium benzoate and water at a pH of less than 3.5”) (emphasis added); ’008 Patent PH,
  3/22/2017 Amendment/Remarks at 5 (“It is the Applicant’s understanding that the Examiners
  appreciated the superior stability provided by the components and pH as recited in the claims”)
  (emphasis added).

  Silvergate is estopped from asserting infringement of the Bionpharma ANDA Product under the
  doctrine of equivalents because it surrendered during prosecution any subject matter beyond the
  exact qualitative and quantitative composition as claimed in the ’008 patent.

  C.1.2.8.3.    Application of the Doctrine of Equivalents is Precluded by the Doctrine of
  Claim Vitiation.

  Applying the doctrine of equivalents to read on the Bionpharma ANDA Product, which does not
  contain the recited ingredients in the specific recited amounts, would vitiate the “about 0.70
  mg/ml of a sweetener that is sucralose,” “a buffer comprising about 1.82 mg/ml citric acid and
  about 0.15 mg/ml sodium citrate dihydrate,” and “about 1 mg/ml of a preservative that is sodium
  benzoate” claim elements. Therefore, any assertion of infringement under the doctrine of
  equivalents is precluded by the doctrine of claim vitiation.

  C.1.2.9.       Claims 1-20 are Not Indirectly Infringed by the Bionpharma ANDA Product.

  Liability for either inducement of infringement or contributory infringement requires direct
  infringement by another as a prerequisite (i.e., the performance of all the patent’s steps that are
  “attributable to one person”). Limelight Networks, Inc. v. Akamai Techs., Inc., 134 S. Ct. 2111,
  2117 (2014) (“[T]here has simply been no infringement of the method . . . because the
  performance of all the patent’s steps is not attributable to any one person. And, as both the
  Federal Circuit and respondents admit, where there has been no direct infringement, there can be
  no inducement of infringement under §271(b).”).

  As discussed above, there is no direct infringement of any claim of the ’008 patent. Thus,
  Bionpharma cannot indirectly infringe any claim of the ’008 patent.

                    *              *              *               *              *

  As discussed above, Bionpharma cannot and does not infringe any claim of the ’008 patent,
  directly or indirectly, literally or under the doctrine of equivalents.

  C.2.           U.S. Patent No. 10,039,745.

  The ’745 patent, entitled “ENALAPRIL FORMULATIONS,” is directed to enalapril oral liquid
  formulations. (’745 patent at Abstract). The ’745 patent issued on August 7, 2018 from U.S.
  Patent Application Serial No. 15/802,341 (“’341 application”), filed on November 2, 2017,
  which is a continuation of application no. 15/613,622, which is a continuation of application no.
  15/081,603, which claims priority to Provisional Application No. 62/310,198, filed on March 18,


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  2016. According to the FDA’s Electronic Orange Book, the ’745 patent expires on March 25,
  2036. According to the USPTO electronic assignment database, the ’745 patent is assigned to
  Silvergate Pharmaceuticals, Inc.

  The ’745 patent lists Gerold L. Mosher and David W. Miles as inventors.

  The ’745 patent discloses and claims stable enalapril oral liquid formulation.

  C.2.1.         The Claims of the ’745 Patent.

  The ’745 patent issued with 20 claims set forth below:

                        1. A stable oral liquid formulation, comprising:

                        (i) about 0.6 to about 1.2 mg/ml enalapril or a
                        pharmaceutically acceptable salt or solvate thereof;

                        (ii) a buffer comprising about 0.8 to about 3.5 mg/ml citric
                        acid and about 0.1 to about 0.8 mg/ml sodium citrate;

                        (iii) about 0.7 to about 1.2 mg/ml sodium benzoate; and

                        (iv) water;

                        wherein the formulation is stable at about 5±3° C. for at
                        least 12 months; and

                        wherein the stable oral liquid formulation has about 95%
                        w/w or greater of the initial enalapril amount and about 5%
                        w/w or less total impurity or related substances at the end
                        of the given storage period.

                        2. The stable oral liquid formulation of claim 1 further
                        comprising about 0.5 to about 0.9 mg/ml sucralose.

                        3. The stable oral liquid formulation of claim 1 further
                        comprising a flavoring agent.

                        4. The stable oral liquid formulation of claim 1, wherein the
                        formulation does not contain mannitol.

                        5. The stable oral liquid formulation of claim 1, wherein the
                        formulation does not contain silicon dioxide.

                        6. The stable oral liquid formulation of claim 1, wherein the
                        pH of the stable oral liquid formulation is less than about
                        3.5.




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                   7. The stable oral liquid formulation of claim 1, wherein the
                   pH of the stable oral liquid formulation is between about 3
                   and about 3.5.

                   8. The stable oral liquid formulation of claim 1, wherein the
                   pH of the stable oral liquid formulation is about 3.3.

                   9. The stable oral liquid formulation of claim 1, wherein the
                   formulation is stable at about 5±3° C. for at least 18
                   months.

                   10. The stable oral liquid formulation of claim 1, wherein
                   the formulation is stable at about 5±3° C. for at least 24
                   months.

                   11. A stable oral liquid formulation, comprising:

                   (i) about 10% to about 25% (w/w of solids) enalapril or a
                   pharmaceutically acceptable salt or solvate thereof;

                   (ii) a buffer comprising about 17% to about 47% (w/w of
                   solids) citric acid and about 1% to about 11% (w/w of
                   solids) sodium citrate;

                   (iii) about 3% to about 25% (w/w of solids) sodium
                   benzoate; and

                   (iv) water;

                   wherein the formulation is stable at about 5±3° C. for at
                   least 12 months; and

                   wherein the stable oral liquid formulation has about 95%
                   w/w or greater of the initial enalapril amount and about 5%
                   w/w or less total impurity or related substances at the end
                   of the given storage period.

                   12. The stable oral liquid formulation of claim 11 further
                   comprising about 8% to about 18% (w/w of solids)
                   sucralose.

                   13. The stable oral liquid formulation of claim 11 further
                   comprising a flavoring agent.

                   14. The stable oral liquid formulation of claim 11, wherein
                   the formulation does not contain mannitol.




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                       15. The stable oral liquid formulation of claim 11, wherein
                       the formulation does not contain silicon dioxide.

                       16. The stable oral liquid formulation of claim 11, wherein
                       the pH of the stable oral liquid formulation is less than
                       about 3.5.

                       17. The stable oral liquid formulation of claim 11, wherein
                       the pH of the stable oral liquid formulation is between
                       about 3 and about 3.5.

                       18. The stable oral liquid formulation of claim 11, wherein
                       the pH of the stable oral liquid formulation is about 3.3.

                       19. The stable oral liquid formulation of claim 11, wherein
                       the formulation is stable at about 5±3° C. for at least 18
                       months.

                       20. The stable oral liquid formulation of claim 11, wherein
                       the formulation is stable at about 5±3° C. for at least 24
                       months.

  C.2.2.        There is No Infringement of Any Claims by the Bionpharma ANDA Product.

  The commercial manufacture, use, sale, and/or offer for sale of the Bionpharma ANDA Product
  will not infringe any valid claim of the ’745 patent either literally or under the doctrine of
  equivalents.

  C.2.2.1.      Claim 1 is Not Infringed by the Bionpharma ANDA Product.

  Claim 1 requires:

                       1. A stable oral liquid formulation, comprising:

                       (i) about 0.6 to about 1.2 mg/ml enalapril or a
                       pharmaceutically acceptable salt or solvate thereof;

                       (ii) a buffer comprising about 0.8 to about 3.5 mg/ml citric
                       acid and about 0.1 to about 0.8 mg/ml sodium citrate;

                       (iii) about 0.7 to about 1.2 mg/ml sodium benzoate; and

                       (iv) water;

                       wherein the formulation is stable at about 5±3° C. for at
                       least 12 months; and

                       wherein the stable oral liquid formulation has about 95%
                       w/w or greater of the initial enalapril amount and about 5%

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                        w/w or less total impurity or related substances at the end
                        of the given storage period.

  C.2.2.1.1.    The Bionpharma ANDA Product Does Not Contain “a buffer comprising
  about 0.8 to about 3.5 mg/ml citric acid and about 0.1 to about 0.8 mg/ml sodium citrate.”

  The Bionpharma ANDA Product does not contain “a buffer comprising about 0.8 to about 3.5
  mg/ml citric acid and about 0.1 to about 0.8 mg/ml sodium citrate” as required by claim 1 of the
  ’745 patent. Literal infringement requires a patentee to prove that every limitation of the
  asserted claim is literally met by the accused product. Enercon, 151 F.3d at 1384; see also Amhil
  Enters., 81 F.3d at 1562 (literal infringement occurs “when the properly construed claim reads
  on the accused device exactly”). The failure to meet even a single element within a claim
  mandates a finding that the accused product does not literally infringe the patent. Laitram Corp.,
  939 F.2d at 1535.

  C.2.2.1.2.  The Bionpharma ANDA Product Does Not Contain “about 0.7 to about 1.2
  mg/ml sodium benzoate.”

  The Bionpharma ANDA Product does not contain “about 0.7 to about 1.2 mg/ml sodium
  benzoate” as required by claim 1 of the ’745 patent. Literal infringement requires a patentee to
  prove that every limitation of the asserted claim is literally met by the accused product. Enercon,
  151 F.3d at 1384; see also Amhil Enters., 81 F.3d at 1562 (literal infringement occurs “when the
  properly construed claim reads on the accused device exactly”). The failure to meet even a
  single element within a claim mandates a finding that the accused product does not literally
  infringe the patent. Laitram Corp., 939 F.2d at 1535.

                                   *              *               *

  The Bionpharma ANDA Product independently fails to contain two separate required elements
  of claim 1 of the ’745 patent, and thus, cannot infringe claim 1 of the ’745 patent.

  C.2.2.2.       Claims 2-10 are Not Infringed by the Bionpharma ANDA Product.

  Claims 2-10 of the ’745 patent depend, directly or indirectly, from independent claim 1. A
  dependent claim incorporates all of the elements and limitations of the independent claim on
  which it depends. 35 U.S.C. § 112(d). Thus, a dependent claim cannot be infringed unless each
  and every element of the underlying independent claim is also infringed. Forest Labs, 239 F.3d
  at 1310-11 & n.3. As discussed above, independent claim 1 of the ’745 patent will be infringed
  by the Bionpharma ANDA Product. Therefore, dependent claims 2-10 of the ’745 patent will
  not be infringed by the Bionpharma ANDA Product.

  C.2.2.3.       Claim 11 is Not Infringed by the Bionpharma ANDA Product.

  Claim 11 requires:

                        1. A stable oral liquid formulation, comprising:




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                        (i) about 10% to about 25% (w/w of solids) enalapril or a
                        pharmaceutically acceptable salt or solvate thereof;

                        (ii) a buffer comprising about 17% to about 47% (w/w of
                        solids) citric acid and about 1% to about 11% (w/w of
                        solids) sodium citrate;

                        (iii) about 3% to about 25% (w/w of solids) sodium
                        benzoate; and

                        (iv) water;

                        wherein the formulation is stable at about 5±3° C. for at
                        least 12 months; and

                        wherein the stable oral liquid formulation has about 95%
                        w/w or greater of the initial enalapril amount and about 5%
                        w/w or less total impurity or related substances at the end
                        of the given storage period.

  C.2.2.3.1.   The Bionpharma ANDA Product Does Not Contain “about 10% to about
  25% (w/w of solids) enalapril or a pharmaceutically acceptable salt or solvate thereof.”

  The Bionpharma ANDA Product does not contain “about 10% to about 25% (w/w of solids)
  enalapril or a pharmaceutically acceptable salt or solvate thereof” as required by claim 11 of the
  ’745 patent. Literal infringement requires a patentee to prove that every limitation of the
  asserted claim is literally met by the accused product. Enercon, 151 F.3d at 1384; see also Amhil
  Enters., 81 F.3d at 1562 (literal infringement occurs “when the properly construed claim reads
  on the accused device exactly”). The failure to meet even a single element within a claim
  mandates a finding that the accused product does not literally infringe the patent. Laitram Corp.,
  939 F.2d at 1535.

  C.2.2.3.2.    The Bionpharma ANDA Product Does Not Contain “a buffer comprising
  about 17% to about 47% (w/w of solids) citric acid and about 1% to about 11% (w/w of
  solids) sodium citrate.”

  The Bionpharma ANDA Product does not contain “a buffer comprising about 17% to about 47%
  (w/w of solids) citric acid and about 1% to about 11% (w/w of solids) sodium citrate” as required
  by claim 11 of the ’745 patent. Literal infringement requires a patentee to prove that every
  limitation of the asserted claim is literally met by the accused product. Enercon, 151 F.3d at
  1384; see also Amhil Enters., 81 F.3d at 1562 (literal infringement occurs “when the properly
  construed claim reads on the accused device exactly”). The failure to meet even a single element
  within a claim mandates a finding that the accused product does not literally infringe the patent.
  Laitram Corp., 939 F.2d at 1535.

  C.2.2.3.3.     The Bionpharma ANDA Product Does Not Contain “about 3% to about 25%
  (w/w of solids) sodium benzoate.”



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  The Bionpharma ANDA Product does not contain “about 3% to about 25% (w/w of solids)
  sodium benzoate” as required by claim 11 of the ’745 patent. Literal infringement requires a
  patentee to prove that every limitation of the asserted claim is literally met by the accused
  product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d at 1562 (literal
  infringement occurs “when the properly construed claim reads on the accused device exactly”).
  The failure to meet even a single element within a claim mandates a finding that the accused
  product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

                                   *              *              *

  The Bionpharma ANDA Product independently fails to contain three separate required elements
  of claim 11 of the ’745 patent, and thus, cannot infringe claim 11 of the ’745 patent.

  C.2.2.4.       Claims 12-20 are Not Infringed by the Bionpharma ANDA Product.

  Claims 12-20 of the ’745 patent depend, directly or indirectly, from independent claim 11. A
  dependent claim incorporates all of the elements and limitations of the independent claim on
  which it depends. 35 U.S.C. § 112(d). Thus, a dependent claim cannot be infringed unless each
  and every element of the underlying independent claim is also infringed. Forest Labs, 239 F.3d
  at 1310-11 & n.3. As discussed above, independent claim 11 of the ’745 patent will be infringed
  by the Bionpharma ANDA Product. Therefore, dependent claims 12-20 of the ’745 patent will
  not be infringed by the Bionpharma ANDA Product.

  C.2.2.5.      Claims 1-10 are Not Infringed by the Bionpharma ANDA Product under the
  Doctrine of Equivalents.

  Infringement under the doctrine of equivalents requires the accused product to contain elements
  identical or equivalent to each claim limitation recited in a claim of a patent. See Warner-
  Jenkinson, 520 U.S. at 29.

  Claims 1-10 of the ’745 patent all require at least (a) a buffer comprising about 0.8 to about 3.5
  mg/ml citric acid and about 0.1 to about 0.8 mg/ml sodium citrate; and (b) about 0.7 to about 1.2
  mg/ml sodium benzoate. As discussed above, the Bionpharma ANDA Product does not
  comprise any of (a) a buffer comprising about 0.8 to about 3.5 mg/ml citric acid and about 0.1 to
  about 0.8 mg/ml sodium citrate; and (b) about 0.7 to about 1.2 mg/ml sodium benzoate. Nor
  does the Bionpharma ANDA Product comprise an equivalent of any of (a) a buffer comprising
  about 0.8 to about 3.5 mg/ml citric acid and about 0.1 to about 0.8 mg/ml sodium citrate; and (b)
  about 0.7 to about 1.2 mg/ml sodium benzoate.

  Thus, the Bionpharma ANDA Product cannot infringe any of claims 1-10 of the ’745 patent
  under the doctrine of equivalents.

  C.2.2.5.1.   Application of the Doctrine of Equivalents is Precluded by Amendment
  Based Prosecution History Estoppel.

  The originally filed claims of the ’603 application, a parent application to the ’745 patent, were
  directed to an oral liquid formulation comprising (i) about 1 mg/ml enalapril maleate; (ii) about
  0.70 mg/ml of a sweetener that is sucralose; (iii) a buffer comprising about 1.82 mg/ml citric


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  acid; (iv) about 1 mg/ml of a preservative that is sodium benzoate; and (v) water; wherein the pH
  of the formulation is less than about 3.5 and wherein the formulation is stable at about 5±3 °C for
  at least 12 months. (’008 Patent PH, Application at claims). In response to obviousness
  rejections by the PTO based on the prior art, Silvergate amended the claims to modify the claim
  from “(iii) a buffer comprising about 1.82 mg/ml citric acid” to “(iii) a buffer comprising about
  1.82 mg/ml citric acid and about 0.15 mg/mL sodium citrate dihydrate.” (Id. at Feb. 3, 2017
  Amendment at 2-3). This amendment served to narrow the claims such that any subject matter
  lacking sodium citrate dihydrate, in the recited amount of 0.15 mg/mL, has been surrendered.
  Silvergate is estopped from recapturing any of the surrendered scope and asserting infringement
  against any pharmaceutical liquid lacking 0.15 mg/mL sodium citrate dihydrate.

  C.2.2.5.2.   Application of the Doctrine of Equivalents is Precluded by Argument Based
  Prosecution History Estoppel.”

  Silvergate is further estopped from asserting infringement under the doctrine of equivalents
  because of argument-based estoppel. Explicit disavowal can occur “when the patentee asserted
  the singularity or uniqueness of the claimed invention in arguing for its patentability.”
  Astrazeneca UK Ltd. v. Dr. Reddy's Labs., Ltd., No. 08-CV-3237 (MLC), 2010 WL 4721384, at
  *8 (D.N.J. Nov. 15, 2010). The Federal Circuit has held that argument-based estoppel applied in
  a case in which “the patentee had argued that ‘only’ the listed compound had the ‘particular and
  novel’ property that enabled the invention claimed.” Id. (quoting Forest Labs., Inc. v. Abbott
  Labs., 239 F.3d 1305, 1313-14 (Fed. Cir. 2001)).

  During prosecution of the parent ’008 patent, Silvergate repeatedly argued that the exact
  formulation with all ingredients in very specific recited amounts were the unique aspect of its
  invention, and further disparaged and disclaimed other ingredients in other amounts. (See, e.g.,
  ’008 Patent PH, 2/3/2017 Amendment/Req. Reconsideration at 7 (“Moreover, the cited
  references have not provided any reason to single out the specific components at the requisite
  concentrations for a pharmaceutical liquid recited in the instant claims.”) (emphasis added);
  id. at 12 (“The Citied References Also Do Not Teach the Claimed Combination of Components
  in the Present Enalapril Formulations”) (emphasis added); id. (“While these claimed
  ingredients and excipients may individually be disclosed in the ’747 patent, Nahata, Bicitra, Ora-
  sweet, and Rippley, none of these references teach or suggest the claimed combination of only
  enalapril, citric acid, sodium citrate, sodium benzoate, sucralose and water at the recited
  concentrations and pH as stated in claim 20”) (emphasis added); id. at 14 (“nothing in Nahata
  provides any reason or rationale of how one of ordinary skill in the art would use these teachings
  to arrive at the claimed stable enalapril oral liquid formulations, let alone pharmaceutical
  enalapril oral liquid formulations with enalapril, citric acid, sodium citrate, sodium benzoate,
  sucralose and water at the recited concentrations and at a pH of less than about 3.5”) (emphasis
  added); id. at 16 (“While elements of the instant claims can be found scattered throughout these
  different references, there is no context or disclosure which brings forth these elements to the
  forefront and allows one to combine them successfully. Instead, each references discloses many
  other excipients that could potentially be used in equal measure.”); id. at 16-17 (table comparing
  the excipients found in prior art to those of the claimed invention) (emphasis added); id. at 17
  (“In contrast, the formulation of the present claims has only four ingredients along with
  enalapril and water.”); id. at 18 (“As such, the prior art does not provide any expectation that
  any particular combination would be successful for stable enalapril oral liquid formulations


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  compositions, much less any expectation that the combination of with enalapril, citric acid,
  sodium citrate, sodium benzoate, sucralose, and water at the recited concentrations and at a pH
  of less than about 3.5 would be successful in forming a stable enalapril liquid formulation. One
  would need to consider all of these excipients and, through trial-and-error, determine whether
  each and every one of these components was necessary for stability or if they could be varied or
  eliminated. Simply put to arrive at the combination of these specific components using the ’747
  patent, Nahata, Bicitra, Ora-sweet, and Rippley, one skilled in the art must ‘vary all parameters
  or try each of the numerous possible choices’ of the references without ‘direction as to which of
  the many choices is likely to be successful’”) (emphasis added); id. at 19 (“Applicant … submits
  that the subject matter in the claims have unexpected results with respect to stability of present
  enalapril liquid formulations.”); id. (“the claimed stable enalapril liquid formulations are
  dramatically much more stable than the extemporaneous enalapril preparations of Nahata and the
  reconstituted enalapril formulations of the ’747 patent”); id. at 22 (“Nowhere does the prior art
  teach or suggest that a combination of enalapril, citric acid, sodium citrate, sodium benzoate,
  sucralose and water at the recited concentrations and at a pH of less than about 3.5 at the
  claimed concentrations would have resulted in such a dramatic stabilization of enalapril”)
  (emphasis added); ’008 Patent PH, 2/3//2017 Declaration of Gerold Mosher Under 37 C.F.R. §
  1.132 at ¶ 9 (“The present oral liquid formulations contain enalapril, sucralose, a citric acid
  buffer, sodium benzoate and water at a pH of less than 3.5”) (emphasis added); ’008 Patent PH,
  3/22/2017 Amendment/Remarks at 5 (“It is the Applicant’s understanding that the Examiners
  appreciated the superior stability provided by the components and pH as recited in the claims”)
  (emphasis added).

  Silvergate is estopped from asserting infringement of the Bionpharma ANDA Product under the
  doctrine of equivalents because it surrendered during prosecution any subject matter beyond the
  exact qualitative and quantitative composition as claimed in the ’745 patent.

  C.2.2.5.3.    Application of the Doctrine of Equivalents is Precluded by the Doctrine of
  Claim Vitiation.

  Applying the doctrine of equivalents to read on the Bionpharma ANDA Product, which does not
  contain the recited ingredients in the specific recited amounts, would vitiate the “a buffer
  comprising about 0.8 to about 3.5 mg/ml citric acid and about 0.1 to about 0.8 mg/ml sodium
  citrate” and “about 0.7 to about 1.2 mg/ml sodium benzoate” claim elements. Therefore, any
  assertion of infringement under the doctrine of equivalents is precluded by the doctrine of claim
  vitiation.

  C.2.2.6.      Claims 11-20 are Not Infringed by the Bionpharma ANDA Product under
  the Doctrine of Equivalents.

  Infringement under the doctrine of equivalents requires the accused product to contain elements
  identical or equivalent to each claim limitation recited in a claim of a patent. See Warner-
  Jenkinson, 520 U.S. at 29.

  Claims 11-20 of the ’745 patent all require at least (a) about 10% to about 25% (w/w of solids)
  enalapril or a pharmaceutically acceptable salt or solvate thereof; (b) a buffer comprising about
  17% to about 47% (w/w of solids) citric acid and about 1% to about 11% (w/w of solids) sodium


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  citrate; and (c) about 3% to about 25% (w/w of solids) sodium benzoate. As discussed above,
  the Bionpharma ANDA Product does not comprise any of (a) about 10% to about 25% (w/w of
  solids) enalapril or a pharmaceutically acceptable salt or solvate thereof; (b) a buffer comprising
  about 17% to about 47% (w/w of solids) citric acid and about 1% to about 11% (w/w of solids)
  sodium citrate; and (c) about 3% to about 25% (w/w of solids) sodium benzoate. Nor does the
  Bionpharma ANDA Product comprise an equivalent of any of (a) about 10% to about 25% (w/w
  of solids) enalapril or a pharmaceutically acceptable salt or solvate thereof; (b) a buffer
  comprising about 17% to about 47% (w/w of solids) citric acid and about 1% to about 11% (w/w
  of solids) sodium citrate; and (c) about 3% to about 25% (w/w of solids) sodium benzoate.

  Thus, the Bionpharma ANDA Product cannot infringe any of claims 11-20 of the ’745 patent
  under the doctrine of equivalents.

  C.2.2.6.1.   Application of the Doctrine of Equivalents is Precluded by Amendment
  Based Prosecution History Estoppel.

  The originally filed claims of the ’603 application, a parent application to the ’745 patent, were
  directed to an oral liquid formulation comprising (i) about 1 mg/ml enalapril maleate; (ii) about
  0.70 mg/ml of a sweetener that is sucralose; (iii) a buffer comprising about 1.82 mg/ml citric
  acid; (iv) about 1 mg/ml of a preservative that is sodium benzoate; and (v) water; wherein the pH
  of the formulation is less than about 3.5 and wherein the formulation is stable at about 5±3 °C for
  at least 12 months. (’008 Patent PH, Application at claims). In response to obviousness
  rejections by the PTO based on the prior art, Silvergate amended the claims to modify the claim
  from “(iii) a buffer comprising about 1.82 mg/ml citric acid” to “(iii) a buffer comprising about
  1.82 mg/ml citric acid and about 0.15 mg/mL sodium citrate dihydrate.” (Id. at Feb. 3, 2017
  Amendment at 2-3). This amendment served to narrow the claims such that any subject matter
  lacking sodium citrate dihydrate, in the recited amount of 0.15 mg/mL, has been surrendered.
  Silvergate is estopped from recapturing any of the surrendered scope and asserting infringement
  against any pharmaceutical liquid lacking 0.15 mg/mL sodium citrate dihydrate.

  C.2.2.6.2.   Application of the Doctrine of Equivalents is Precluded by Argument Based
  Prosecution History Estoppel.”

  Silvergate is further estopped from asserting infringement under the doctrine of equivalents
  because of argument-based estoppel. Explicit disavowal can occur “when the patentee asserted
  the singularity or uniqueness of the claimed invention in arguing for its patentability.”
  Astrazeneca UK Ltd. v. Dr. Reddy's Labs., Ltd., No. 08-CV-3237 (MLC), 2010 WL 4721384, at
  *8 (D.N.J. Nov. 15, 2010). The Federal Circuit has held that argument-based estoppel applied in
  a case in which “the patentee had argued that ‘only’ the listed compound had the ‘particular and
  novel’ property that enabled the invention claimed.” Id. (quoting Forest Labs., Inc. v. Abbott
  Labs., 239 F.3d 1305, 1313-14 (Fed. Cir. 2001)).

  During prosecution of the parent ’008 patent, Silvergate repeatedly argued that the exact
  formulation with all ingredients in very specific recited amounts were the unique aspect of its
  invention, and further disparaged and disclaimed other ingredients in other amounts. (See, e.g.,
  ’008 Patent PH, 2/3/2017 Amendment/Req. Reconsideration at 7 (“Moreover, the cited
  references have not provided any reason to single out the specific components at the requisite


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  concentrations for a pharmaceutical liquid recited in the instant claims.”) (emphasis added);
  id. at 12 (“The Citied References Also Do Not Teach the Claimed Combination of Components
  in the Present Enalapril Formulations”) (emphasis added); id. (“While these claimed
  ingredients and excipients may individually be disclosed in the ’747 patent, Nahata, Bicitra, Ora-
  sweet, and Rippley, none of these references teach or suggest the claimed combination of only
  enalapril, citric acid, sodium citrate, sodium benzoate, sucralose and water at the recited
  concentrations and pH as stated in claim 20”) (emphasis added); id. at 14 (“nothing in Nahata
  provides any reason or rationale of how one of ordinary skill in the art would use these teachings
  to arrive at the claimed stable enalapril oral liquid formulations, let alone pharmaceutical
  enalapril oral liquid formulations with enalapril, citric acid, sodium citrate, sodium benzoate,
  sucralose and water at the recited concentrations and at a pH of less than about 3.5”) (emphasis
  added); id. at 16 (“While elements of the instant claims can be found scattered throughout these
  different references, there is no context or disclosure which brings forth these elements to the
  forefront and allows one to combine them successfully. Instead, each references discloses many
  other excipients that could potentially be used in equal measure.”); id. at 16-17 (table comparing
  the excipients found in prior art to those of the claimed invention) (emphasis added); id. at 17
  (“In contrast, the formulation of the present claims has only four ingredients along with
  enalapril and water.”); id. at 18 (“As such, the prior art does not provide any expectation that
  any particular combination would be successful for stable enalapril oral liquid formulations
  compositions, much less any expectation that the combination of with enalapril, citric acid,
  sodium citrate, sodium benzoate, sucralose, and water at the recited concentrations and at a pH
  of less than about 3.5 would be successful in forming a stable enalapril liquid formulation. One
  would need to consider all of these excipients and, through trial-and-error, determine whether
  each and every one of these components was necessary for stability or if they could be varied or
  eliminated. Simply put to arrive at the combination of these specific components using the ’747
  patent, Nahata, Bicitra, Ora-sweet, and Rippley, one skilled in the art must ‘vary all parameters
  or try each of the numerous possible choices’ of the references without ‘direction as to which of
  the many choices is likely to be successful’”) (emphasis added); id. at 19 (“Applicant … submits
  that the subject matter in the claims have unexpected results with respect to stability of present
  enalapril liquid formulations.”); id. (“the claimed stable enalapril liquid formulations are
  dramatically much more stable than the extemporaneous enalapril preparations of Nahata and the
  reconstituted enalapril formulations of the ’747 patent”); id. at 22 (“Nowhere does the prior art
  teach or suggest that a combination of enalapril, citric acid, sodium citrate, sodium benzoate,
  sucralose and water at the recited concentrations and at a pH of less than about 3.5 at the
  claimed concentrations would have resulted in such a dramatic stabilization of enalapril”)
  (emphasis added); ’008 Patent PH, 2/3//2017 Declaration of Gerold Mosher Under 37 C.F.R. §
  1.132 at ¶ 9 (“The present oral liquid formulations contain enalapril, sucralose, a citric acid
  buffer, sodium benzoate and water at a pH of less than 3.5”) (emphasis added); ’008 Patent PH,
  3/22/2017 Amendment/Remarks at 5 (“It is the Applicant’s understanding that the Examiners
  appreciated the superior stability provided by the components and pH as recited in the claims”)
  (emphasis added).

  Silvergate is estopped from asserting infringement of the Bionpharma ANDA Product under the
  doctrine of equivalents because it surrendered during prosecution any subject matter beyond the
  exact qualitative and quantitative composition as claimed in the ’745 patent.




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  C.2.2.6.3.    Application of the Doctrine of Equivalents is Precluded by the Doctrine of
  Claim Vitiation.

  Applying the doctrine of equivalents to read on the Bionpharma ANDA Product, which does not
  contain the recited ingredients in the specific recited amounts, would vitiate the “about 10% to
  about 25% (w/w of solids) enalapril or a pharmaceutically acceptable salt or solvate thereof,” “a
  buffer comprising about 17% to about 47% (w/w of solids) citric acid and about 1% to about
  11% (w/w of solids) sodium citrate,” and “about 3% to about 25% (w/w of solids) sodium
  benzoate” claim elements. Therefore, any assertion of infringement under the doctrine of
  equivalents is precluded by the doctrine of claim vitiation.

  C.2.2.7.       Claims 1-20 are Not Indirectly Infringed by the Bionpharma ANDA Product.

  Liability for either inducement of infringement or contributory infringement requires direct
  infringement by another as a prerequisite (i.e., the performance of all the patent’s steps that are
  “attributable to one person”). Limelight, 134 S. Ct. at 2117 (“[T]here has simply been no
  infringement of the method . . . because the performance of all the patent’s steps is not
  attributable to any one person. And, as both the Federal Circuit and respondents admit, where
  there has been no direct infringement, there can be no inducement of infringement under
  §271(b).”).

  As discussed above, there is no direct infringement of any claim of the ’745 patent. Thus,
  Bionpharma cannot indirectly infringe any claim of the ’745 patent.

                    *              *              *               *              *

  As discussed above, Bionpharma cannot and does not infringe any claim of the ’745 patent,
  directly or indirectly, literally or under the doctrine of equivalents.

  C.3.           U.S. Patent No. 9,808,442.

  The ’442 patent, entitled “ENALAPRIL FORMULATIONS,” is directed to enalapril oral liquid
  formulations. (’442 patent at Abstract). The ’442 patent issued on November 7, 2017 from U.S.
  Patent Application Serial No. 15/613,622 (“’622 application”), filed on June 5, 2017, which is a
  continuation of U.S. Patent Application No. 15/081,603, which claims priority to Provisional
  Application No. 62/310,198, filed on March 18, 2016. According to the FDA’s Electronic
  Orange Book, the ’442 patent expires on March 25, 2036. According to the USPTO electronic
  assignment database, the ’442 patent is assigned to Silvergate Pharmaceuticals, Inc.

  The ’442 patent lists Gerold L. Mosher and David W. Miles as inventors.

  The ’442 patent discloses and claims methods of treating certain diseases through administration
  of a stable enalapril oral liquid formulation.

  C.3.1.         The Claims of the ’442 Patent.

  The ’442 patent issued with 30 claims set forth below:



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                   1. A method of treating hypertension in a subject
                   comprising administering to that subject a therapeutically
                   effective amount of a stable oral liquid formulation
                   comprising:

                   (i) about 1 mg/ml enalapril maleate;

                   (ii) a buffer comprising about 1.82 mg/ml citric acid and
                   about 0.15 mg/ml sodium citrate dihydrate;

                   (iii) about 1 mg/ml of a preservative that is sodium
                   benzoate; and

                   (iv) water;

                   wherein the pH of the stable oral liquid formulation is less
                   than about 3.5;

                   wherein the stable oral liquid formulation is stable at about
                   5±3° C. for at least 12 months; and

                   wherein the stable oral liquid formulation has about 95% or
                   greater of the initial enalapril amount and about 5% w/w or
                   less total impurities or related substances at the end of the
                   given storage period.

                   2. The method of claim 1, wherein the stable oral liquid
                   formulation further comprises a flavoring agent.

                   3. The method of claim 1, wherein the stable oral liquid
                   formulation further comprises about 0.70 mg/ml of a
                   sweetener that is sucralose.

                   4. The method of claim 1, wherein the pH is between about
                   3 and about 3.5.

                   5. The method of claim 1, wherein the pH is about 3.3.

                   6. The method of claim 1, wherein the citrate concentration
                   in the buffer is about 5 mM to about 20 mM.

                   7. The method of claim 1, wherein the citrate concentration
                   in the buffer is about 10 mM.

                   8. The method of claim 1, wherein the stable oral liquid
                   formulation is stable at about 5±3° C. for at least 18
                   months.



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                   9. The method of claim 1, wherein the stable oral liquid
                   formulation is stable at about 5±3° C. for at least 24
                   months.

                   10. The method of claim 1, wherein the stable oral liquid
                   formulation does not contain mannitol or silicon dioxide.

                   11. The method of claim 1, wherein the hypertension is
                   primary (essential) hypertension.

                   12. The method of claim 1, wherein the hypertension is
                   secondary hypertension.

                   13. The method of claim 1, wherein the subject has blood
                   pressure values greater than or equal to 140/90 mmm Hg.

                   14. The method of claim 1, wherein the subject is elderly or
                   a child.

                   15. The method of claim 1, wherein the stable oral liquid
                   formulation is further administered in combination with an
                   agent selected from the group consisting of diuretics, beta
                   blockers, alpha blockers, mixed alpha and beta blockers,
                   calcium channel blockers, angiotensin II receptor
                   antagonists, ACE inhibitors, aldosterone antagonists, and
                   alpha-2 agonists.

                   16. A method of treating heart failure in a subject
                   comprising administering to that subject a therapeutically
                   effective amount of a stable oral liquid formulation
                   comprising:

                   (i) about 1 mg/ml enalapril maleate;

                   (ii) a buffer comprising about 1.82 mg/ml citric acid and
                   about 0.15 mg/ml sodium citrate dihydrate; and

                   (iii) about 1 mg/ml of a preservative that is sodium
                   benzoate; and

                   (iv) water;

                   wherein the pH of the stable oral liquid formulation is less
                   than about 3.5;

                   wherein the stable oral liquid formulation is stable at about
                   5±3° C. for at least 12 months; and



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                   wherein the stable oral liquid formulation has about 95% or
                   greater of the initial enalapril amount and about 5% w/w or
                   less total impurities or related substances at the end of the
                   given storage period.

                   17. The method of claim 16, wherein the stable oral liquid
                   formulation further comprises about 0.70 mg/ml of a
                   sweetener that is sucralose.

                   18. The method of claim 16, wherein the pH is between
                   about 3 and about 3.5.

                   19. The method of claim 16, wherein the pH is between
                   about 3.3.

                   20. The method of claim 16, wherein the citrate
                   concentration in the buffer is about 5 mM to about 20 mM.

                   21. The method of claim 16, wherein the stable oral liquid
                   formulation is stable at about 5±3° C. for at least 24
                   months.

                   22. The method of claim 16, wherein the stable oral liquid
                   formulation does not contain mannitol or silicon dioxide.

                   23. The method of claim 16, wherein the heart failure is
                   congestive heart failure.

                   24. A method of treating left ventricular dysfunction in a
                   subject comprising administering to that subject a
                   therapeutically effective amount of a stable oral liquid
                   formulation comprising:

                   (i) about 1 mg/ml enalapril maleate;

                   (ii) a buffer comprising about 1.82 mg/ml citric acid and
                   about 0.15 mg/ml sodium citrate dihydrate; and

                   (iii) about 1 mg/ml of a preservative that is sodium
                   benzoate; and

                   (iv) water;

                   wherein the pH of the stable oral liquid formulation is less
                   than about 3.5;

                   wherein the stable oral liquid formulation is stable at about
                   5±3° C. for at least 12 months; and


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                         wherein the stable oral liquid formulation has about 95% or
                         greater of the initial enalapril amount and about 5% w/w or
                         less total impurities or related substances at the end of the
                         given storage period.

                         25. The method of claim 24, wherein the stable oral liquid
                         formulation further comprises about 0.70 mg/ml of a
                         sweetener that is sucralose.

                         26. The method of claim 24, wherein the pH is between
                         about 3 and about 3.5.

                         27. The method of claim 24, wherein the pH is between
                         about 3.3.

                         28. The method of claim 24, wherein the citrate
                         concentration in the buffer is about 5 mM to about 20 mM.

                         29. The method of claim 24, wherein the stable oral liquid
                         formulation is stable at about 5±3° C. for at least 24
                         months.

                         30. The method of claim 24, wherein the stable oral liquid
                         formulation does not contain mannitol or silicon dioxide.

  C.3.2.         There is No Infringement of Any Claims by the Bionpharma ANDA Product.

  The commercial manufacture, use, sale, and/or offer for sale of the Bionpharma ANDA Product
  will not infringe any valid claim of the ’442 patent either literally or under the doctrine of
  equivalents.

  C.3.2.1.       Claims 1-15 Are Directed to Uses for which Bionpharma Is Not Seeking
  Approval.

  Independent claim 1 is directed to a “method of treating hypertension in a subject.” Claims 2-15
  all depend directly on claim 1 and therefore incorporate all of the elements and limitations of
  independent claim 1. 35 U.S.C. § 112(d). Bionpharma is not seeking approval of its ANDA
  Product for the treatment of hypertension.

  Because the labeling for Bionpharma’s ANDA Product will include no instructions or promotion
  to use the Bionpharma ANDA Product for treatment of hypertension, Bionpharma will not be
  inducing infringement of claims 1-15. Moreover, there will be no direct infringement of claims
  1-15—by Biopharma or any third parties who use Bionpharma’s ANDA Product—because the
  formulation for Bionpharma’s ANDA product will not contain all of the formulation elements
  recited in each of claims 1-15, as explained supra, with respect to the ’008 patent, and infra, with
  respect to the remaining claims of the ’442 patent. With no direct infringement, there can be no
  indirect infringement—either induced infringement or contributory infringement.



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  Thus, Bionpharma’s ANDA Product and the use of same in accordance with Bionpharma’s
  proposed label will not infringe claims 1-15, either directly or indirectly.

  C.3.2.2.      Claim 16 is Not Infringed by the Bionpharma ANDA Product.

  Claim 16 requires:

                        16. A method of treating heart failure in a subject
                        comprising administering to that subject a therapeutically
                        effective amount of a stable oral liquid formulation
                        comprising:

                        (i) about 1 mg/ml enalapril maleate;

                        (ii) a buffer comprising about 1.82 mg/ml citric acid and
                        about 0.15 mg/ml sodium citrate dihydrate; and

                        (iii) about 1 mg/ml of a preservative that is sodium
                        benzoate; and

                        (iv) water;

                        wherein the pH of the stable oral liquid formulation is less
                        than about 3.5;

                        wherein the stable oral liquid formulation is stable at about
                        5±3° C. for at least 12 months; and

                        wherein the stable oral liquid formulation has about 95% or
                        greater of the initial enalapril amount and about 5% w/w or
                        less total impurities or related substances at the end of the
                        given storage period..

  C.3.2.2.1.    Bionpharma Will Not Infringe the Method Element of Claim 16.

  Bionpharma does not and cannot infringe the method elements of claim 16 of the ’442 patent.

  No Direct Infringement.

  Claim 16 of the ’442 patent requires “[a] method of treating … comprising administering … a
  therapeutically effective amount of a stable oral liquid formulation.” Bionpharma does not
  directly administer medicines to patients in the United States for any use. Rather, only
  physicians may prescribe, only pharmacists may dispense, and only patients may directly
  administer Bionpharma’s ANDA product in the United States for any particular therapeutic use.
  For at least this reason, Bionpharma would not directly literally infringe any method of use,
  which is required by all claims of the ’442 patent. Warner-Lambert, 316 F.3d at 1363.
  Bionpharma would not directly infringe the ’442 patent under the doctrine of equivalents either,
  because application of the doctrine here would require elimination of at least the “method of


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  treating … comprising administering … a therapeutically effective amount of a stable oral liquid
  formulation” limitations in violation of the all-elements rule. Id.

  No Induced Infringement.

  Inducing infringement under 35 U.S.C. § 271(b) requires “actively and knowingly aiding and
  abetting another’s direct infringement.” C.R. Bard., 911 F.2d at 675. The patentee must prove
  that the defendant’s “actions induced infringing acts and that [they] knew or should have known
  [their] actions would induce actual infringement.” Manville, 917 F.2d at 553. Proof of mere
  knowledge of the acts alleged to constitute infringement is insufficient; specific intent and action
  to induce infringement must be proven. DSU, 471 F.3d at 1305. In the ANDA context, the
  Federal Circuit has made clear that the patentee must prove that the ANDA applicant will
  actually promote or encourage others, here pharmacists, nurses or other end users, to infringe the
  patent by using the drug for the patented use. Warner-Lambert, 316 F.3d at 1365. Moreover,
  intent to induce infringement cannot be inferred when there are substantial noninfringing uses for
  the drug. Id.; see also Allergan, 324 F.3d at 1332.

  Because, as shown below, Bionpharma’s ANDA product will not directly infringe the
  formulation elements of claim 16, there is no direct infringement by Bionpharma; as such,
  Bionpharma’s proposed labeling will not mandate an infringing use by physicians or patients,
  there can be no inducement to infringe the claims of the ’442 patent. Joy Techs., 6 F.3d at 774
  (stating that “[l]iability for . . . active inducement of infringement . . . is dependent upon the
  existence of direct infringement.”).

  Second, there is no evidence that Bionpharma will “promote or encourage others” to infringe the
  ’442 patent by administering a product comprising either “a buffer comprising about 1.82 mg/ml
  citric acid and about 0.15 mg/ml sodium citrate dihydrate” or “about 1 mg/ml of a preservative
  that is sodium benzoate,” as Bionpharma’s ANDA product does not contain those ingredients,
  and thus no evidence of any specific intent on the part of Bionpharma.

  No Contributory Infringement.

  Contributory infringement under § 271(c) arises when there is a sale or offer for sale of a
  component of a patented apparatus or a material for use in a patented process if the material or
  apparatus constitutes a material part of the invention and the person supplying it knows that it is
  especially made for or especially adapted for use in an infringement of a patent. See 35 U.S.C.
  § 271(c). Judgment of non-infringement on a claim of contributory infringement is proper where
  the defendant proffers competent evidence that the product is used in a noninfringing manner.
  See Alloc, 342 F.3d at 1374 (affirming judgment of no contributory infringement where evidence
  was introduced that accused product could be used without infringing the claim).

  Because, as shown below, there is no direct infringement by Bionpharma’s ANDA product,
  Bionpharma cannot contribute to the infringement of the claims of the ’442 patent by the
  manufacture, use or sale of Bionpharma’s ANDA product. Joy Techs., 6 F.3d at 774 (“[l]iability
  for … contributory infringement is dependent upon the existence of direct infringement.”).




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  C.3.2.2.2.   The Bionpharma ANDA Product Does Not Contain “a buffer comprising
  about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium citrate dihydrate” As Required
  by Claim 16.

  The Bionpharma ANDA Product does not contain “a buffer comprising about 1.82 mg/ml citric
  acid and about 0.15 mg/ml sodium citrate dihydrate” as required by claim 16 of the ’442 patent.
  Literal infringement requires a patentee to prove that every limitation of the asserted claim is
  literally met by the accused product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d
  at 1562 (literal infringement occurs “when the properly construed claim reads on the accused
  device exactly”). The failure to meet even a single element within a claim mandates a finding
  that the accused product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

  C.3.2.2.3.    The Bionpharma ANDA Product Does Not Contain “about 1 mg/ml of a
  preservative that is sodium benzoate” As Required by Claim 16.

  The Bionpharma ANDA Product does not contain “about 1 mg/ml of a preservative that is
  sodium benzoate” as required by claim 16 of the ’442 patent. Literal infringement requires a
  patentee to prove that every limitation of the asserted claim is literally met by the accused
  product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d at 1562 (literal
  infringement occurs “when the properly construed claim reads on the accused device exactly”).
  The failure to meet even a single element within a claim mandates a finding that the accused
  product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

                                  *              *              *

  The Bionpharma ANDA Product does not contain two separate required elements of claim 16 of
  the ’442 patent, and thus, cannot infringe claim 16 of the ’442 patent.

  C.3.2.3.      Claims 17-23 are Not Infringed by the Bionpharma ANDA Product.

  Claims 17-23 of the ’442 patent depend, directly or indirectly, from independent claim 16. A
  dependent claim incorporates all of the elements and limitations of the independent claim on
  which it depends. 35 U.S.C. § 112(d). Thus, a dependent claim cannot be infringed unless each
  and every element of the underlying independent claim is also infringed. Forest Labs, 239 F.3d
  at 1310-11 & n.3. As discussed above, independent claim 16 of the ’442 patent will be infringed
  by the Bionpharma ANDA Product. Therefore, dependent claims 17-23 of the ’442 patent will
  not be infringed by the Bionpharma ANDA Product.

  C.3.2.4.      Claim 24 is Not Infringed by the Bionpharma ANDA Product.

  Claim 24 requires:

                        24. A method of treating left ventricular dysfunction in a
                        subject comprising administering to that subject a
                        therapeutically effective amount of a stable oral liquid
                        formulation comprising:

                        (i) about 1 mg/ml enalapril maleate;


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                         (ii) a buffer comprising about 1.82 mg/ml citric acid and
                         about 0.15 mg/ml sodium citrate dihydrate; and

                         (iii) about 1 mg/ml of a preservative that is sodium
                         benzoate; and

                         (iv) water;

                         wherein the pH of the stable oral liquid formulation is less
                         than about 3.5;

                         wherein the stable oral liquid formulation is stable at about
                         5±3° C. for at least 12 months; and

                         wherein the stable oral liquid formulation has about 95% or
                         greater of the initial enalapril amount and about 5% w/w or
                         less total impurities or related substances at the end of the
                         given storage period.

  C.3.2.4.1.     Bionpharma Will Not Infringe the Method Element of Claim 24.

  Bionpharma does not and cannot infringe the method elements of claim 24 of the ’442 patent.

  No Direct Infringement.

  Claim 24 of the ’442 patent requires “[a] method of treating … comprising administering … a
  therapeutically effective amount of a stable oral liquid formulation.” Bionpharma does not
  directly administer medicines to patients in the United States for any use. Rather, only
  physicians may prescribe, only pharmacists may dispense, and only patients may directly
  administer Bionpharma’s ANDA product in the United States for any particular therapeutic use.
  For at least this reason, Bionpharma would not directly literally infringe any method of use,
  which is required by all claims of the ’442 patent. Warner-Lambert, 316 F.3d at 1363.
  Bionpharma would not directly infringe the ’442 patent under the doctrine of equivalents either,
  because application of the doctrine here would require elimination of at least the “a] method of
  treating … comprising administering … a therapeutically effective amount of a stable oral liquid
  formulation” limitations in violation of the all-elements rule. Id.

  No Induced Infringement.

  Inducing infringement under 35 U.S.C. § 271(b) requires “actively and knowingly aiding and
  abetting another’s direct infringement.” C.R. Bard., 911 F.2d at 675. The patentee must prove
  that the defendant’s “actions induced infringing acts and that [they] knew or should have known
  [their] actions would induce actual infringement.” Manville, 917 F.2d at 553. Proof of mere
  knowledge of the acts alleged to constitute infringement is insufficient; specific intent and action
  to induce infringement must be proven. DSU, 471 F.3d at 1305. In the ANDA context, the
  Federal Circuit has made clear that the patentee must prove that the ANDA applicant will
  actually promote or encourage others, here pharmacists, nurses or other end users, to infringe the
  patent by using the drug for the patented use. Warner-Lambert, 316 F.3d at 1365. Moreover,


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  intent to induce infringement cannot be inferred when there are substantial noninfringing uses for
  the drug. Id.; see also Allergan, 324 F.3d at 1332.

  Because, as shown below, Bionpharma’s ANDA product will not directly infringe the
  formulation elements of claim 24, there is no direct infringement by Bionpharma; as such,
  Bionpharma’s proposed labeling will not mandate an infringing use by physicians or patients,
  there can be no inducement to infringe the claims of the ’442 patent. Joy Techs., 6 F.3d at 774
  (stating that “[l]iability for . . . active inducement of infringement . . . is dependent upon the
  existence of direct infringement.”).

  Second, there is no evidence that Bionpharma will “promote or encourage others” to infringe the
  ’442 patent by administering a product comprising either “a buffer comprising about 1.82 mg/ml
  citric acid and about 0.15 mg/ml sodium citrate dihydrate” or “about 1 mg/ml of a preservative
  that is sodium benzoate,” as Bionpharma’s ANDA product does not contain those ingredients,
  and thus no evidence of any specific intent on the part of Bionpharma.

  No Contributory Infringement.

  Contributory infringement under § 271(c) arises when there is a sale or offer for sale of a
  component of a patented apparatus or a material for use in a patented process if the material or
  apparatus constitutes a material part of the invention and the person supplying it knows that it is
  especially made for or especially adapted for use in an infringement of a patent. See 35 U.S.C. §
  271(c). Judgment of non-infringement on a claim of contributory infringement is proper where
  the defendant proffers competent evidence that the product is used in a noninfringing manner.
  See Alloc, 342 F.3d at 1374 (affirming judgment of no contributory infringement where evidence
  was introduced that accused product could be used without infringing the claim).

  Because, as shown below, there is no direct infringement by Bionpharma’s ANDA product,
  Bionpharma cannot contribute to the infringement of the claims of the ’442 patent by the
  manufacture, use or sale of Bionpharma’s ANDA product. Joy Techs., 6 F.3d at 774 (“[l]iability
  for … contributory infringement is dependent upon the existence of direct infringement.”).

  C.3.2.4.2.   The Bionpharma ANDA Product Does Not Contain “a buffer comprising
  about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium citrate dihydrate” As Required
  by Claim 24.

  The Bionpharma ANDA Product does not contain “a buffer comprising about 1.82 mg/ml citric
  acid and about 0.15 mg/ml sodium citrate dihydrate” as required by claim 24 of the ’442 patent.
  Literal infringement requires a patentee to prove that every limitation of the asserted claim is
  literally met by the accused product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d
  at 1562 (literal infringement occurs “when the properly construed claim reads on the accused
  device exactly”). The failure to meet even a single element within a claim mandates a finding
  that the accused product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

  C.3.2.4.3.    The Bionpharma ANDA Product Does Not Contain “about 1 mg/ml of a
  preservative that is sodium benzoate” As Required by Claim 24.




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  The Bionpharma ANDA Product does not contain “about 1 mg/ml of a preservative that is
  sodium benzoate” as required by claim 24 of the ’442 patent. Literal infringement requires a
  patentee to prove that every limitation of the asserted claim is literally met by the accused
  product. Enercon, 151 F.3d at 1384; see also Amhil Enters., 81 F.3d at 1562 (literal
  infringement occurs “when the properly construed claim reads on the accused device exactly”).
  The failure to meet even a single element within a claim mandates a finding that the accused
  product does not literally infringe the patent. Laitram Corp., 939 F.2d at 1535.

                                   *              *              *

  The Bionpharma ANDA Product does not contain two separate required elements of claim 24 of
  the ’442 patent, and thus, cannot infringe claim 24 of the ’442 patent.

  C.3.2.5.       Claims 25-30 are Not Infringed by the Bionpharma ANDA Product.

  Claims 25-30 of the ’442 patent depend, directly or indirectly, from independent claim 24. A
  dependent claim incorporates all of the elements and limitations of the independent claim on
  which it depends. 35 U.S.C. § 112(d). Thus, a dependent claim cannot be infringed unless each
  and every element of the underlying independent claim is also infringed. Forest Labs, 239 F.3d
  at 1310-11 & n.3. As discussed above, independent claim 24 of the ’442 patent will be infringed
  by the Bionpharma ANDA Product. Therefore, dependent claims 25-30 of the ’442 patent will
  not be infringed by the Bionpharma ANDA Product.

  C.3.2.6.      Claims 16-30 are Not Infringed by the Bionpharma ANDA Product under
  the Doctrine of Equivalents.

  Infringement under the doctrine of equivalents requires the accused product to contain elements
  identical or equivalent to each claim limitation recited in a claim of a patent. See Warner-
  Jenkinson, 520 U.S. at 29.

  Claims 16-30 of the ’442 patent all require at least (a) a buffer comprising about 1.82 mg/ml
  citric acid and about 0.15 mg/mL sodium citrate dihydrate; and (b) about 1 mg/ml of a
  preservative that is sodium benzoate. As discussed above, the Bionpharma ANDA Product does
  not comprise any of (a) a buffer comprising about 1.82 mg/ml citric acid and about 0.15 mg/mL
  sodium citrate dihydrate; and (b) about 1 mg/ml of a preservative that is sodium benzoate. Nor
  does the Bionpharma ANDA Product comprise an equivalent of any of (a) a buffer comprising
  about 1.82 mg/ml citric acid and about 0.15 mg/mL sodium citrate dihydrate; and (b) about 1
  mg/ml of a preservative that is sodium benzoate.

  Thus, the Bionpharma ANDA Product cannot infringe any of claims 16-30 of the ’442 patent
  under the doctrine of equivalents.

  C.3.2.6.1.   Application of the Doctrine of Equivalents is Precluded by Amendment
  Based Prosecution History Estoppel.

  The originally filed claims of the ’603 application, a parent application to the ’442 patent, were
  directed to an oral liquid formulation comprising (i) about 1 mg/ml enalapril maleate; (ii) about
  0.70 mg/ml of a sweetener that is sucralose; (iii) a buffer comprising about 1.82 mg/ml citric


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  acid; (iv) about 1 mg/ml of a preservative that is sodium benzoate; and (v) water; wherein the pH
  of the formulation is less than about 3.5 and wherein the formulation is stable at about 5±3 °C for
  at least 12 months. (’008 Patent PH, Application at claims). In response to obviousness
  rejections by the PTO based on the prior art, Silvergate amended the claims to modify the claim
  from “(iii) a buffer comprising about 1.82 mg/ml citric acid” to “(iii) a buffer comprising about
  1.82 mg/ml citric acid and about 0.15 mg/mL sodium citrate dihydrate.” (Id. at Feb. 3, 2017
  Amendment at 2-3). This amendment served to narrow the claims such that any subject matter
  lacking sodium citrate dihydrate, in the recited amount of 0.15 mg/mL, has been surrendered.
  Silvergate is estopped from recapturing any of the surrendered scope and asserting infringement
  against any pharmaceutical liquid lacking 0.15 mg/mL sodium citrate dihydrate.

  C.1.2.6.2.   Application of the Doctrine of Equivalents is Precluded by Argument Based
  Prosecution History Estoppel.”

  Silvergate is further estopped from asserting infringement under the doctrine of equivalents
  because of argument-based estoppel. Explicit disavowal can occur “when the patentee asserted
  the singularity or uniqueness of the claimed invention in arguing for its patentability.”
  Astrazeneca UK Ltd. v. Dr. Reddy's Labs., Ltd., No. 08-CV-3237 (MLC), 2010 WL 4721384, at
  *8 (D.N.J. Nov. 15, 2010). The Federal Circuit has held that argument-based estoppel applied in
  a case in which “the patentee had argued that ‘only’ the listed compound had the ‘particular and
  novel’ property that enabled the invention claimed.” Id. (quoting Forest Labs., Inc. v. Abbott
  Labs., 239 F.3d 1305, 1313-14 (Fed. Cir. 2001)).

  During prosecution of the parent ’008 patent, Silvergate repeatedly argued that the exact
  formulation with all ingredients in very specific recited amounts were the unique aspect of its
  invention, and further disparaged and disclaimed other ingredients in other amounts. (See, e.g.,
  ’008 Patent PH, 2/3/2017 Amendment/Req. Reconsideration at 7 (“Moreover, the cited
  references have not provided any reason to single out the specific components at the requisite
  concentrations for a pharmaceutical liquid recited in the instant claims.”) (emphasis added);
  id. at 12 (“The Citied References Also Do Not Teach the Claimed Combination of Components
  in the Present Enalapril Formulations”) (emphasis added); id. (“While these claimed
  ingredients and excipients may individually be disclosed in the ’747 patent, Nahata, Bicitra, Ora-
  sweet, and Rippley, none of these references teach or suggest the claimed combination of only
  enalapril, citric acid, sodium citrate, sodium benzoate, sucralose and water at the recited
  concentrations and pH as stated in claim 20”) (emphasis added); id. at 14 (“nothing in Nahata
  provides any reason or rationale of how one of ordinary skill in the art would use these teachings
  to arrive at the claimed stable enalapril oral liquid formulations, let alone pharmaceutical
  enalapril oral liquid formulations with enalapril, citric acid, sodium citrate, sodium benzoate,
  sucralose and water at the recited concentrations and at a pH of less than about 3.5”) (emphasis
  added); id. at 16 (“While elements of the instant claims can be found scattered throughout these
  different references, there is no context or disclosure which brings forth these elements to the
  forefront and allows one to combine them successfully. Instead, each references discloses many
  other excipients that could potentially be used in equal measure.”); id. at 16-17 (table comparing
  the excipients found in prior art to those of the claimed invention) (emphasis added); id. at 17
  (“In contrast, the formulation of the present claims has only four ingredients along with
  enalapril and water.”); id. at 18 (“As such, the prior art does not provide any expectation that
  any particular combination would be successful for stable enalapril oral liquid formulations


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  compositions, much less any expectation that the combination of with enalapril, citric acid,
  sodium citrate, sodium benzoate, sucralose, and water at the recited concentrations and at a pH
  of less than about 3.5 would be successful in forming a stable enalapril liquid formulation. One
  would need to consider all of these excipients and, through trial-and-error, determine whether
  each and every one of these components was necessary for stability or if they could be varied or
  eliminated. Simply put to arrive at the combination of these specific components using the ’747
  patent, Nahata, Bicitra, Ora-sweet, and Rippley, one skilled in the art must ‘vary all parameters
  or try each of the numerous possible choices’ of the references without ‘direction as to which of
  the many choices is likely to be successful’”) (emphasis added); id. at 19 (“Applicant … submits
  that the subject matter in the claims have unexpected results with respect to stability of present
  enalapril liquid formulations.”); id. (“the claimed stable enalapril liquid formulations are
  dramatically much more stable than the extemporaneous enalapril preparations of Nahata and the
  reconstituted enalapril formulations of the ’747 patent”); id. at 22 (“Nowhere does the prior art
  teach or suggest that a combination of enalapril, citric acid, sodium citrate, sodium benzoate,
  sucralose and water at the recited concentrations and at a pH of less than about 3.5 at the
  claimed concentrations would have resulted in such a dramatic stabilization of enalapril”)
  (emphasis added); ’008 Patent PH, 2/3//2017 Declaration of Gerold Mosher Under 37 C.F.R. §
  1.132 at ¶ 9 (“The present oral liquid formulations contain enalapril, sucralose, a citric acid
  buffer, sodium benzoate and water at a pH of less than 3.5”) (emphasis added); ’008 Patent PH,
  3/22/2017 Amendment/Remarks at 5 (“It is the Applicant’s understanding that the Examiners
  appreciated the superior stability provided by the components and pH as recited in the claims”)
  (emphasis added).

  Silvergate is estopped from asserting infringement of the Bionpharma ANDA Product under the
  doctrine of equivalents because it surrendered during prosecution any subject matter beyond the
  exact qualitative and quantitative composition as claimed in the ’442 patent.

  C.1.2.6.3.    Application of the Doctrine of Equivalents is Precluded by the Doctrine of
  Claim Vitiation.

  Applying the doctrine of equivalents to read on the Bionpharma ANDA Product, which does not
  contain the recited ingredients in the specific recited amounts, would vitiate the “a buffer
  comprising about 1.82 mg/ml citric acid and about 0.15 mg/mL sodium citrate dihydrate” and
  “about 1 mg/ml of a preservative that is sodium benzoate” claim elements. Therefore, any
  assertion of infringement under the doctrine of equivalents is precluded by the doctrine of claim
  vitiation.

  D.             Conclusion.

  For at least the reasons detailed herein, the claims of the ’008 patent, the ’745 patent, and the
  ’442 patent are not infringed by Bionpharma’s ANDA product, directly or indirectly, literally or
  under the doctrine of equivalents.



                    *              *              *              *              *




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  Bionpharma expressly reserves all rights to raise any additional defenses relating to invalidity,
  unenforceability, and non-infringement, based, inter alia, on the facts and information revealed
  through discovery. Additionally, Bionpharma expressly reserves the right, if sued, to seek a
  finding of patent unenforceability due to patent misuse. For example, if the ’008 patent, the ’745
  patent, or the ’442 patent are asserted against Bionpharma, such an infringement suit would be
  objectively baseless and a sham, brought for the improper purpose of, inter alia, triggering a 30-
  month stay of Bionpharma’s ANDA approval.




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  II.           ABBREVIATED           NEW        DRUG         APPLICATION   NO.  212408
                OFFER        OF      CONFIDENTIAL              ACCESS   PURSUANT    TO
                21 U.S.C. § 355(j)(5)(C)(i)(III)

  WHEREAS Bionpharma Inc. (“Bionpharma”) has provided notice to Silvergate
  Pharmaceuticals Inc. (“Silvergate”) that Bionpharma submitted to the U.S. Food and Drug
  Administration (“FDA”) an Abbreviated New Drug Application (“ANDA”) to obtain approval
  for Bionpharma to engage in the commercial manufacture, use, or sale of enalapril maleate oral
  solution, 1 mg/mL, that the ANDA has been received by the FDA and assigned ANDA No.
  212408, and that the ANDA contained a Paragraph IV certification with respect to U.S. Patent
  Nos. 9,669,008 (“’008 patent”), 10,039,745 (“’745 patent”), and 9,808,442 (“’442 patent”),
  which are listed in the FDA Publication, “Approved Drug Products with Therapeutic
  Equivalence Evaluations”;

  WHEREAS this document constitutes Bionpharma’s Offer of Confidential Access to Silvergate
  to that ANDA pursuant to 21 U.S.C. § 355(j)(5)(C)(i)(III) which provides:

         The document providing the offer of confidential access shall contain such
         restrictions as to persons entitled to access, and on the use and disposition of any
         information accessed, as would apply had a protective order been entered for the
         purpose of protecting trade secrets and other confidential business information. A
         request for access to an application under an offer of confidential access shall be
         considered acceptance of the offer of confidential access with the restrictions as to
         persons entitled to access, and on the use and disposition of any information
         accessed, contained in the offer of confidential access, and those restrictions and
         other terms of the offer of confidential access shall be considered terms of an
         enforceable contract. Any person provided an offer of confidential access shall
         review the application for the sole and limited purpose of evaluating possible
         infringement of the patent that is the subject of the certification under paragraph
         (2)(A)(vii)(IV) and for no other purpose, and may not disclose information of no
         relevance to any issue of patent infringement to any person other than a person
         provided an offer of confidential access. Further, the application may be redacted
         by the applicant to remove any information of no relevance to any issue of patent
         infringement.

  WHEREAS Bionpharma offers to provide Silvergate confidential access to certain information
  from its proprietary ANDA (“ANDA Confidential Information”) subject to restrictions as to
  persons entitled access to, and on the use and disposition of, the ANDA Confidential
  Information; and

  WHEREAS this document accompanies Bionpharma’s Notice and Detailed Statement under 21
  U.S.C. § 355(j)(2)(B) with respect to the ’008 patent, the ’745 patent, and the ’442 patent;

  NOW, THEREFORE:

  1.            Pursuant to 21 U.S.C. § 355(j)(5)(C)(i)(III), and subject to the restrictions
  contained in Section 2 below, Bionpharma hereby provides Silvergate this Offer of Confidential


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  Access (“Offer”) to the ANDA for the sole purpose of determining whether to bring an action
  with respect to the ’008 patent, the ’745 patent, or the ’442 patent;

  2.             This Offer is subject to the following restrictions as to persons entitled to access
  and the use and disposition of any information accessed:

     A. Persons Entitled to Access: Persons entitled to access to ANDA Confidential
        Information (“Authorized Evaluators”) under this Offer are restricted to outside counsel
        engaged or employed by Silvergate to represent them and the staff of such outside
        counsel, including paralegal, secretarial and clerical personnel who are engaged in
        assisting such counsel, provided that such outside counsel has been identified to
        Bionpharma in writing, and provided said outside counsel does not engage, formally or
        informally, in any patent prosecution or any FDA counseling, litigation or other work
        before or involving the FDA.

     B. Materials Accessible by Authorized Evaluators: A copy of the ANDA Confidential
        Information, redacted to remove information of no relevance to any issue of patent
        infringement, will be provided for use by Authorized Evaluators.

     C. Use of the ANDA Confidential Information:

                      i. The ANDA Confidential Information and all information contained
                         therein or derived therefrom may be used for the sole and limited
                         purpose of evaluating possible infringement of the ’008 patent, the ’745
                         patent, or the ’442 patent and for no other purpose. By way of non-
                         limiting example only, the ANDA Confidential Information shall not be
                         used to prepare or prosecute any future or pending patent application, or
                         in connection with any filing to, or communication with, FDA relating to
                         the ANDA.

                      ii. Authorized Evaluators shall not disclose any ANDA Confidential
                          Information contained in or derived from the ANDA or any notes,
                          analyses, studies or other documents to the extent that they reflect any
                          ANDA Confidential Information, to any person other than Authorized
                          Evaluators.

                      iii. Notwithstanding the provisions of subsections 2(C)(i) and 2(C)(ii)
                           above, Authorized Evaluators shall be permitted to advise Silvergate
                           whether or not to bring suit alleging infringement of the ’008 patent, the
                           ’745 patent, or the ’442 patent; provided, however, that the ANDA
                           Confidential Information is not thereby disclosed.

     D. Disposition of the Information in the ANDA:

                      i. Silvergate agrees that if no suit is filed against Bionpharma alleging
                         infringement of the ’008 patent, the ’745 patent, or the ’442 patent
                         within 45 days of receipt of this Offer, Silvergate shall cause Authorized
                         Evaluators, within 30 days after the expiration of the 45-day period, to


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                           destroy or return to Bionpharma the ANDA Confidential Information
                           and all notes, analyses, studies or other documents to the extent that they
                           contain ANDA Confidential Information, and Silvergate shall promptly
                           notify Bionpharma that this has been done.

                       ii. Silvergate agrees that if an action is filed against Bionpharma alleging
                           infringement of the ’008 patent, the ’745 patent, or the ’442 patent
                           within the 45-day period:

                            a) While the litigation is pending, the ANDA Confidential
                               Information and all notes, analyses, studies or other documents to
                               the extent that they contain ANDA Confidential Information, shall
                               be maintained in accordance with Sections 2.A and 2.C of this
                               Offer, pending entry of a protective order in the action governing
                               the confidentiality of the ANDA Confidential Information.

                            b) No ANDA Confidential Information shall be included in any
                               publicly available complaint or other publicly available pleading.

                            c) Silvergate shall cause Authorized Evaluators to destroy or return to
                               Bionpharma the ANDA Confidential Information provided and all
                               notes, analyses, studies or other documents prepared to the extent
                               that they contain ANDA Confidential Information, within thirty
                               (30) days after the final determination of the action brought against
                               Bionpharma, or as otherwise prescribed in any protective order
                               entered in the action that governs the confidentiality of the ANDA
                               Confidential Information.

     E. Accidental Disclosure: Should ANDA Confidential Information be disclosed,
        inadvertently or otherwise, Silvergate shall, at their earliest opportunity, by and through
        Authorized Evaluators, contact Bionpharma and identify:

                       i. what has been disclosed;

                       ii. the individuals to whom such information has been disclosed; and

                       iii. steps taken by Silvergate and Authorized Evaluators to ensure the
                            ANDA Confidential Information is not further disseminated.

  3.              Silvergate acknowledges that violation of any provision of this Offer will cause
  irreparable injury to Bionpharma and that an adequate legal remedy does not exist. Bionpharma,
  therefore, shall have the right, in addition to any other remedies available at law or in equity, to
  obtain from a court of competent jurisdiction an injunction to prohibit Silvergate from violating
  the terms of this Offer. Silvergate agrees that in such an action Bionpharma is entitled to recover
  any and all damages, costs and expenses, including, but not limited to, all reasonable attorneys’
  fees, professional fees and court costs.




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  4.              Should any provision set forth in this Offer be found by a court of competent
  jurisdiction to be illegal, unconstitutional or unenforceable, the remaining provisions shall
  continue in full force and effect.

  5.              Nothing contained herein shall be construed as a grant of any license or other
  right to use the ANDA Confidential Information except for the purpose expressly stated herein.

  6.             When accepted by Silvergate, this document shall constitute the entire agreement
  of the parties with respect to the subject matter herein and may not be amended or modified
  except in writing executed by all of the parties.

  7.           This Agreement shall be construed in accordance with the laws of the State of
  Delaware without regard to its conflict of law provisions.

  8.              Nothing in this Offer shall be construed as an admission by Bionpharma regarding
  the validity, enforceability, and/or infringement of any U.S. patent. Further, nothing herein shall
  be construed as an agreement or admission by Bionpharma with respect to the competency,
  relevance, or materiality of any such ANDA Confidential Information, document, or thing. The
  fact that Bionpharma provides ANDA Confidential Information upon request by Silvergate shall
  not be construed as an admission by Bionpharma that such ANDA Confidential Information is
  relevant to the disposition of any issue relating to any alleged infringement of the ’008 patent,
  the ’745 patent, or the ’442 patent, or to the validity or enforceability of the ’008 patent, the ’745
  patent, or the ’442 patent.

  9.             Silvergate may request access to the ANDA Confidential Information by
  executing a copy of this Offer where indicated and returning the executed copy to: Brian P.
  Murray, Esq., Taft Stettinius & Hollister LLP, 111 E. Wacker Drive, Suite 2800, Chicago,
  Illinois, 60601-3713. Thereupon, the terms contained in this document shall be considered an
  enforceable contract between Bionpharma and Silvergate.

  Bionpharma Inc.

  By their Counsel:



  _______________________________

  Taft Stettinius & Hollister LLP

  Brian P. Murray, Esq.

  Dated:




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  Silvergate Pharmaceuticals Inc.

  By its authorized agent:

  Signature: _________________________

  Name (Print): ______________________

  Title: _____________________________

  Date: _____________________________




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